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NEW BUSINESS DECLARATIONS

Homeowners Renters Policy

INSURED AND AGENT INFORMATION

(Named Insured)

Name and Mailing Address
TAJAE SHARPE

507 OLD TOWNE DR
BRENTWOOD TN 37027-4454

The Residence premises is located at
507 OLD TOWNE DR
BRENTWOOD TN 37027-4454

POLICY INFORMATION

Homeowners Policy No.
996037889 634 1

Your Insurer

Travelers Personal Security Insurance Company
One of The Travelers Property Casualty Companies
One Tower Square, Hartford, CT 06183

Agent Information

GEICO INS AGENCY INC

1 GEICO BLVD
FREDERICKSBURG, VA 22412

Policy Period
06/21/16 - 06/21/17 12:01 A.M.
Standard Time at the residence premises

1-800-CLAIM33
(800) 841-3005

For Claim Service Call
For Policy Service Call

TOTAL POLICY PREMIUM $ 655.00
This is not a bill; you will be invoiced separately.
POLICY COVERAGES AND LIMITS OF LIABILITY

LIMIT
Section | - Property Coverages
CG = PERSONAL PROPERTY: :22 25456858 65646555 SRESES REESE EERE EERE ETS SE cece eee a ence $ 20,000
D - LOSS OF USE... ee ee ee eee ebb b bbb beennnaus $ 6,000
LIMITED FUNGI, OTHER MICROBES OR ROT REMEDIATION
Section I - Property Coverage........... 0... 2c eee $ 5,000

675/015974

Case 3:18-cv-00365 Documenti-1 Filed 04/13/18

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PL-12630 2-11 Insured Copy Page 1 of 3
Page 1 of 38 PagelD #: 8
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TRAVELERS J

POLICY COVERAGES AND LIMITS OF LIABILITY, CONTINUED

Section II - Liability Coverages
E - Personal Liability (Bodily Injury and Property Damage) Each Occurrence.. $ 100,000
F . Medical Payments to Others Each Person...........00 cece eee eee e eens $ 1,000

POLICY SAVINGS AND DEDUCTIBLES

Your Savings
The following credits or discounts reduced your premium: Loss Free Discount,
Protective Devices Discount

Deductibles DEDUCTIBLE
Section I Property Coverages Deductible (All Perils)...............0ee eae § 500

In case of loss under section I, only that part of the loss over the stated
deductible is covered.

OPTIONAL ENDORSEMENTS AND COVERAGES LIMIT PREMIUM

Optional Endorsements

HO-61-B (10-06) Valuable Items Plus $ 480.00
JOwelry. eee tee $40,000

HO-84 (12-08) Enhanced Home Package............ 0.0000 cece eee eee eens Included*
Water Back Up And Sump Discharge Or...... $5,000
Overflow

MANDATORY FORMS AND ENDORSEMENTS
HO-4 (10-06) Homeowners 4 Contents Broad Form
HO-300 TN (09-12) Special Provisions - Tennessee

The Declarations with your Homeowners Policy, HO-4 (10-06), and the optional
Endorsements and coverages listed above, form your Homeowners Insurance Policy.

*Note: The additional cost for any optional endorsement or coverage shown as
"Included" is contained in the Total Policy Premium amount.

Continued on next page

675/015974 . PL-12630 2-11 Insured Copy Page 2 of 3
Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 2 of 38 PagelD #: 9
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For Your Information

For information about how Travelers compensates independent agents and
brokers, please visit www.Travelers.com or call our toll free telephone
number 1-866-904-8348. You may also request a written copy from Marketing
at One Tower Square, 2GSA, Hartford, Connecticut 06183.

It is important that the information we used to rate your policy is correct.

It is your responsibility to make sure that the information on these Declarations

is accurate and complete, including checking that you are receiving all the
discounts for which you are eligible. To see a full list of discounts offered,
including discounts for having multiple policies with us, protecting your home

with safety devices and being claim free, go to www.mytravelers.com/discounts.

Once at the website, type in your policy number 9960378896341 and product cade

HQ2 to view the discounts available. If any of the information on the Declarations
has changed, appears incorrect, or is missing, please advise your Travelers agent or
representative immediately. Your Travelers agent or representative is also available to
review the information on the Declarations with you.

This is not a bill. You will be billed separately for this transaction.
Thank you for insuring with Travelers. We appreciate your business. If you
have any questions about your insurance, please contact your agent or
representative.

These declarations with policy provisions HO-4 (10-06) and any attached

endorsements form your Homeowners Insurance Policy. Please keep them with
your policy for future reference.

Countersignature:

675/015974 . PL-12630 2-11 Insured Copy Page 3 of 3
Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 3 of 38 PagelD #: 1
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TRAVELERS J

This is to certify that this is a reproduction, from the
company’s records, of the insurance policy between the
insured and the insuring company as described on the
Declarations Page. It is a full, true and complete
reproduction of the insurance policy. No insurance is
afforded hereunder.

Signature:

/ LAALC-LL. wt hearse
C

Date: 10.24.2017

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 4 of 38 PagelID #: 11
YOUR HOMEOWNERS POLICY QUICK REFERENCE

 

 

 

 

 

DECLARATIONS PAGE
Your Name
Location of Your Residence
Policy Period
Policy Coverages
Limits of Liability
Deductible Amounts
Beginning
On Page
AGREEMENT 0... ce eccsscccssscercesecesssesssssssssssseesesesasecesasecsasseveesccseeausussensseess 1
DEFINITIONS ounces eecceeesestsecsssseesseeeessneusensesensessseessenecessnecessneceseesensetases 1
SECTION | COVERAGES. ooo. ecceseececcesecetssesentsscecerecsesssseecateessracseecetensreseessessaneeeaanass 3
PROPERTY
COVERAGES Coverage C - Personal Property ............:ccccssccssssesseesessseseeecssecevseecevseans 3
Coverage D - Loss of USE oo. ic eccccccsssectsseeessecesersersesecssrecsseesesseeesnes 4
Additional Coverages ..............00. aeeeessensecesaesacesetensnseaueesesseatecsesesssensaeaes 5
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Coverage F - Medical Payments to Others .........:csccsssessscssecessssstescerensers 14
ADDITIONAL COVERAGES. oui... ccscccsesssssenscsseseeseeeseaacenseeseseesesnssecsnssessases 15
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HO-4 (10-06)
Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 5 of 38 PagelD #: 12
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HO-4 (10-06)

HOMEOWNERS 4 — CONTENTS BROAD FORM

 

AGREEMENT

 

We will provide the insurance described in this policy in return for the premium and compliance with all applica-

ble provisions of this policy.

 

DEFINITIONS

 

in this policy, "you" and "your" refer to the named “in-
sured" shown in the Declarations and the spouse if a
resident of the same household. "We", "us" and “our"
refer to the company providing this insurance. In addi-
tion, certain words and phrases are defined as fol-
lows:

1. “Aircraft Liability", “Hovercraft Liability", “Motor
Vehicle Liability” and “Watercraft Liability", sub-
ject to the provisions in b. below, mean the fol-
lowing:

a. Liability for “bodily injury" or “property dam-
age" arising out of the:

(1) Ownership of such vehicle or craft by an
“insured”;

(2) Maintenance, occupancy, operation, use,
loading or unloading of such vehicle or
craft by any person;

(3) Entrustment of such vehicle or craft by an
“insured” to any person;

(4) Failure to supervise or negligent supervi-
sion of any person involving such vehicle
or craft by an "insured"; or

(5) Vicarious liability, whether or not imposed
by law, for the actions of a child or minor
involving such vehicle or craft.

b. For the purpose of this definition:

(1) Aircraft means any contrivance used or
designed for flight, except model or
hobby aircraft not used or designed to
carry people or cargo;

(2) Hovercraft means a self-propelled motor-
ized ground effect vehicle and includes,
but is not limited to, flarecraft and air
cushion vehicles;

(3) Watercraft means a craft principally de-
signed to be propelled on or in water by
wind, engine power or electric motor; and

HO-4 (10-06)

(4) Motor vehicle means a “motor vehicle" as
defined in 9. below.

"Bodily injury" means bodily harm, sickness or
disease, including required care, loss of services
and death that results.

“Business” means:

a. A trade, profession or occupation engaged in
on a full-time, part-time or occasional basis;
or

b. Any other activity engaged in for money or
other compensation, except the following:

(1) Volunteer activities for which no money is
received other than payment for ex-
penses incurred to perform the activity;

(2) Providing home day care services for
which no compensation is received, other
than the mutual exchange of such ser-
vices; or

(3) Providing home day care services to a
relative of an “insured”.

“Employee” means an employee of an “insured”,
or an employee leased to an “insured” by a labor
leasing firm under an agreement between an “in-
sured” and the labor leasing firm, whose duties
are other than those performed by a "residence
employee".

“Fuel system" means:

a. One or more containers, tanks or vessels
which have a total combined fuel storage ca-
pacity of 100 or more U.S, gallons; and:

(1) Are, or were, used to hold fuel; and
(2) Are, or were, located on any one location;

b. Any pumping apparatus, which includes the
motor, gauge, nozzle, hose or pipes that are,
or were, connected to one or more containers,
tanks or vessels described in Paragraph a.;

Page 1 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 6 of 38 PagelD #: 13
c. Filler pipes and flues connected to one or
more containers, tanks or vessels described
in Paragraph a.;

d. A boiler, furnace or a water heater, the fuel
for which is stored in a container, tank or ves-
sel described in Paragraph a.;

e. Fittings and pipes connecting the boiler, fur-
nace or water heater to one or more contain-
ers, tanks or vessels described in Paragraph
a.; or

f. A structure that is specifically designed and
built to hold escaped or released fuel from
one or more containers, tanks or vessels de-
scribed in Paragraph a.

A “fuel system” does not include any fuel tanks
that are permanently affixed to a motor vehicle or
watercraft owned by an “insured”, used for power-
ing the motor vehicle or watercraft and not used
at any time or in any manner for “business”.

“Fungi”

a. "Fungi" means any type or form of fungus,
including mold or mildew, and any mycotox-
ins, spores, scents or by-products produced or
released by “fungi”.

b. Under Section Il, this does not include any
“fungi” that are, are on, or are contained in, a
product or goods intended for consumption.

"Insured" means:
a. You and residents of your household who are:
(1) Your relatives; or

(2) Other persons under the age of 21 and in
the care of any person named above.

b. A student enrolled in school full-time, as de-
fined by the school, who was a resident of
your household before moving out to attend
school, provided the student is under the age
of:

{1) 24 and your relative; or

(2) 21 and in your care or the care of a per-
son described in a.(1) above; or

c. Any Additional Insured named in the Declara-
tions, but only with respect to Coverages E
and F and only for the “residence premises”.

d. Under Section Hl:

(1) With respect to animals or watercraft to
which this policy applies, any person or
organization legally responsible for these
animals or watercraft which are owned by
you or any person included in a. or b.

HO-4 (10-06)

HO-4 (10-06)

above. “Insured” does not mean a person
or organization using or having custody of
these animals or watercraft in the course
of any “business” or without consent of
the owner; or

(2) With respect to any vehicle to which this
policy applies:

(a) Persons while engaged in your em-
ploy or that of any person included in
a. or b. above; or

(b) Other persons using the vehicle on an
“insured location” with your consent.

Under both Sections | and II, when the word an
immediately precedes the word “insured”, the
words an “insured” together mean one or more
"insureds".

“Insured location" means:
The “residence premises",

The part of other premises, other structures
and grounds used by you as a residence and:

(1) Which is shown in the Declarations; or
(2) Which is acquired by you during the pol-
icy period for your use as a residence;

c. Any premises used by you in connection with
a premises described in a. and b. above;

d. Any part of a premises:
(1) Not owned by an "insured"; and
(2) Where an “insured” is temporarily resid-
ing;
e. Vacant land, other than farm land, owned by
or rented to an “insured”;

f. Land owned by or rented to an “insured” on
which a one or two family dwelling is being
built as a residence for an "insured";

g. Individual or family cemetery plots or burial
vaults of an “insured”;

h. Any part of a premises occasionally rented to
an "insured" for other than “business" use; or

i. Any premises owned by you and rented to
others for use as a residence by not more
than four families, if shown in the Declara-
tions as an ADDITIONAL RESIDENCE
RENTED TO OTHERS.

"Motor vehicle” means:

a. A self-propelled land or amphibious vehicle;
or

Page 2 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 7 of 38 PagelD #: 14
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b. Any trailer or semi-trailer which is being car-
ried on, towed by or hitched for towing by a
vehicle described in a. above.

10. “Occurrence” means an accident, including con-

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tinuous or repeated exposure to substantially the
same general harmful conditions, which results
during the policy period, in:

a. "bodily injury"; or
b. “property damage".

. "Property Damage" means physical injury to, de-

struction of, or loss of use of tangible property.

12. "Residence employee" means:

a. An employee of an "insured", or an employee

leased to an "insured" by a labor leasing firm

under an agreement between an “insured”
and the labor leasing firm, if the employee's
duties are related to the maintenance or use
of the “residence premises", including house-
hold or domestic services; or

13.

HO-4 (10-06)

b. One who performs similar duties elsewhere
not related to the “business” of an “insured.”

A “residence employee” does not include a tem-
porary employee who is furnished to an “insured"
to substitute for a permanent “residence em-
ployee" on leave or to meet seasonal or short-
term workload conditions.

“Residence premises" means:
The one family dwelling where you reside;

b. The two, three or four family dwelling where
you reside in at least one of the family units;
or

c. That part of any other building where you re-
side;

and which is shown as the "residence premises"

in the Declarations.

"Residence premises” also includes other struc-
tures and grounds at that location.

 

SECTION | - PROPERTY COVERAGES

 

COVERAGE C - PERSONAL PROPERTY

1.

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Covered Property. We cover personal property
owned or used by an “insured” while it is any-
where in the world. At your request, we will cover
personal property owned by:

a. Others while the property is on the part of the
“residence premises" occupied by an “in-
sured"; or

b. A guest or a “residence employee", while the
property is in any residence occupied by an
insured",

This request may be made after a loss.

Limit For Property At Other Residences. Our
limit of liability for personal property usually lo-
cated at an “insured's" residence, other than the
“residence premises", is 10% of the limit of liabil-
ity for Coverage C, or $1,000, whichever is
greater. However, this limitation does not apply to
personal property:

a. Moved from the “residence premises’ be-
cause it is being repaired, renovated or rebuilt
and is not fit to live in or store property in; or

b. in a newly acquired principal residence for 30
days from the time you begin to move the
property there.

Special Limits of Liability. The special limit for
each category described below is the greater of

HO-4 (10-06)

the limit shown below or the special limit for such
category, if any, shown in the Declarations. Such
limit is the total limit for each loss for all property
in that category. These special limits do not in-
crease the Coverage C limit of liability.

a. $200 on money, bank notes, bullion, gold
other than goldware, silver other than silver-
ware, platinum other than platinumware,
coins, medals, scrip, stored value cards and
smart cards.

b. $1,500 on securities, accounts, deeds, evi-
dence of debt, letters of credit, notes other
than bank notes, manuscripts, personal re-
cords, passports, tickets and stamps. This
dollar limit applies to these categories regard-
less of the medium (such as paper or com-
puter software) on which the material exists.

This limit includes the cast to research, re-
place or restore the information from the lost
or damaged material.

c. $1,500 on watercraft of all types, including
their trailers, furnishings, equipment and out-
board engines or motors.

d. $1,500 on trailers or semitrailers not used
with watercraft of all types.

e. $1,500 for loss by theft of jewelry, watches,
furs, precious and semiprecious stones.

Page 3 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 8 of 38 PagelD #: 15
f. $2,500 for loss by theft of firearms and re-
lated equipment.

g. $2,500 for loss by theft of silverware, silver-
plated ware, goldware, gold-plated ware, plati-
numware, platinum-plated ware and pewter-
ware. This includes flatware, hollowware, tea
sets, trays and trophies made of or including
silver, gold, platinum or pewter.

h. $5,000 on property, on the “residence prem-
ises", used primarily for “business” purposes.

i. $1,500 on property, away from the "residence
premises", used primarily for “business” pur-
poses. However, this limit does not apply to
loss to electronic apparatus and accessories
described in category j. below.

j- $1,500 on electronic apparatus and accesso-
ries, while in or upon a "motor vehicle", but
only if the apparatus is equipped to be oper-
ated by power from the “motor vehicle's” elec-
trical system while still capable of being
operated by other power sources.

k. $250 on tapes, records, discs or other media
that can be used with any electronic appara-
tus, while in or upon a “motor vehicle”.

Property Not Covered
We do not cover:

a. Articles separately described and specifically
insured, regardless of the limit for which they
are insured, in this or other insurance;

b. Animals, birds or fish;
c. “Motor vehicles".
(1) This includes:

(a) Their accessories, equipment and
parts; or

(b) Electronic apparatus and accessories
designed to be operated solely by
power from the electrical system of
the "motor vehicle".

The exclusion of property described in (a)
and (b) above applies only while such
property is in or upon the “motor vehicle”.

(2) We do cover “motor vehicles" not re-
quired to be registered for use on public
roads or property which are:

{a) Used to service an "insured's” resi-
dence; or

(b} Designed to assist the handicapped;

HO-4 (10-06)

HO-4 (10-06)

d. Aircraft meaning any contrivance used or de-
signed for flight, including any parts whether
or not attached to the aircraft.

We do cover model or hobby aircraft not used
or designed to carry people or cargo;

e. Hovercraft and parts. Hovercraft means a
self-propelled motorized ground effect vehicle
and includes, but is not limited to, flarecraft
and air cushion vehicles;

f. Property of roomers, boarders and other ten-
ants, except property of roomers and board-
ers related to an “insured”;

g. Property in an apartment regularly rented or
held for rental to others by an "insured;

h. Property rented or held for rental to others off
the "residence premises";

i. "Business" data, including such data stored
in:

(1) Books of account, drawings or other pa-
per records; or

(2) Computers and related equipment.

We do cover the cost of blank recording or
storage media, and of prerecorded computer
programs available on the retail market;

j. Credit cards, electronic fund transfer cards or
access devices used solely for deposit, with-
drawal or transfer of funds except as provided
in Additional Coverage 7. Credit Card, Elec-
tronic Fund Transfer Card Or Access Device,
Forgery And Counterfeit Money;

k. Grave markers, except as provided in Addi-
tional Coverage 13. Grave Markers; or

|. Water or steam.

COVERAGE D - LOSS OF USE

The limit of liability for Coverage D is the total limit for
the coverages in 1. Additional Living Expense, 2. Fair
Rental Value and 3. Civil Authority Prohibits Use be-

low.
1.

Additional Living Expense. If a loss by a Peril
Insured Against under this policy to covered prop-
erty or the building containing the property makes
the "residence premises" not fit to live in, we
cover any necessary increase in living expenses
incurred by you so that your household can main-
tain its normal standard of living. However, addi-
tional living expense due to “fungi”, other
microbes or rot remediation will not be paid in ad-
dition to any amounts paid or payable under Addi-
tional Coverage 16. Limited “Fungi”, Other
Microbes Or Rot Remediation.

Page 4 of 22

Case 3:18-cv-00365 Documenti1-1 Filed 04/13/18 Page 9 of 38 PagelD #: 16
 

 

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Payment will be for the shortest time required to
repair or replace the damage or, if you perma-
nently relocate, the shortest time required for your
household to settle elsewhere.

Fair Rental Value. If a loss covered under Sec-
tion | makes that part of the "residence premises"
rented to others or held for rental by you not fit to
live in, we cover the fair rental value of such
premises less any expenses that do not continue
while it is not fit to live in. However, fair rental
value due to “fungi”, other microbes or rot reme-
diation will not be paid in addition to any amounts
paid or payable under Additional Coverage 16.
Limited “Fungi”, Other Microbes Or Rot Remedia-
tion.

Payment will be for the shortest time required to
repair or replace such premises.

Written proof that part of the “residence premises”
is rented, was held for rental at the time of loss or
has been rented within the 24 months prior to the
date of loss is required.

Civil Authority Prohibits Use. If a civil authority
prohibits you from use of the "residence prem-
ises" as a result of direct physical damage to
neighboring premises caused by a Peril Insured
Against under this policy, we cover resulting 1.
Additional Living Expense and 2. Fair Rental
Value as provided above for no more than two
weeks. Neighboring premises means a premises
in sufficient proximity to the “residence premises”
that there exists a reasonable risk that the peril
affecting the neighboring premises could endan-
ger either the “residence premises” or the safety
of its occupants while in the “residence premises’.

Loss Or Expense Not Covered. We do not
cover loss or expense due to cancellation of a
lease or agreement.

The periods of time under 1. Additional Living Ex-
pense, 2. Fair Rental Value and 3. Civil Authority Pro-
hibits Use above are not limited by expiration of this
policy.

ADDITIONAL COVERAGES

Unless otherwise stated:
The following coverages are additional insurance; and
They are subject to your deductible.

1. Debris Removal. We will pay your reasonable
expense for the removal of:

a. Debris of covered property if a Peril Insured
Against that applies to the damaged property
causes the loss; or

b. Ash, dust or particles from a volcanic eruption
that has caused direct loss to property cov-

HO-4 (10-06)

HO-4 (10-06)

ered as Building Additions and Alterations or

other covered property contained in a build-

ing.
This expense is included in the limit of liability
that applies to the damaged property. If the
amount to be paid for the actual damage to the
property plus the debris removal expense is more
than the limit of liability for the damaged property,
an additional 5% of that limit is available for such
expense.

We do not pay for the removal of trees except as
provided under 2. Tree Removal below.

Tree Removal. We will pay your reasonable ex-
pense, up to $1,000, for the removal of one or
more trees fallen on the “residence premises" as
a result of a Peril Insured Against, provided the
tree(s):

a. Damage(s) property covered as Building Ad-
ditions and Alterations; or

b. Do(es) not damage property covered as
Building Additions and Alterations, but:

{1) Block(s) a driveway on the “residence
premises" which prevent(s) a "motor ve-
hicle", that is registered for use on public
roads or property, from entering or leav-
ing the “residence premises", or

(2) Block(s) a ramp or other fixture designed
to assist a handicapped persen to enter or
leave the dwelling building.

The $1,000 limit is the most we will pay in any
one loss regardless of the number of fallen trees.
No more than $500 of this limit will be paid for the
removal of any one tree,

Reasonable Repairs.

a. We will pay the reasonable cost incurred by
you for the necessary measures taken solely
to protect covered property that is damaged
by a Peril Insured Against from further dam-
age.

b. If the measures taken involve repair to other
damaged property, we will pay only if that
property is covered under this policy and the
damage is caused by a Peril Insured Against.

c. This coverage does not increase the limit of
liability that applies to the covered property;
or

d. Relieve you of your duties, in case of a loss
to covered property, described in 2.d. under
Section | — Conditions.

Trees, Shrubs And Other Plants. We cover
trees, shrubs, plants or lawns, on the “residence

Page 5 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 10 of 38 PagelD #: 17
premises", for loss caused by the following Perils
Insured Against:

a. Fire or Lightning;
Explosion;
Riot or Civil Commotion;

Aircraft;

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Vehicles not owned or operated by a resident
of the "residence premises";

f. Vandalism or Malicious Mischief; or
g-. Theft.

We will pay up to 10% of the limit of liability that
applies to Coverage C for all trees, shrubs, plants
or lawns. No more than $500 of this limit will be
paid for any one tree, shrub or plant. We do not
cover property grown for “business” purposes.

Fire Department Service Charge. We will pay
up to $500 for your liability assumed by contract
or agreement for fire department charges incurred
when the fire department is called to save or pro-
tect covered property from a Peril Insured
Against. We do not cover fire department service
charges if the property is located within the limits
of the city, municipality or protection district fur-
nishing the fire department response.

No deductible applies to this coverage.

Property Removed. We insure covered property
against direct loss from any cause while being
removed from a premises endangered by a Peril
Insured Against and for no more than 30 days
while removed. This coverage does not change
the limit of liability that applies to the property be-
ing removed.

Credit Card, Electronic Fund Transfer Card Or
Access Device, Forgery And Counterfeit
Money.

a. We will pay up to the greater of $1,000, or the
higher amount, if any, shown in the Declara-
tions for CREDIT CARD, for:

(1) The legal obligation of an “insured” to pay
because of the theft or unauthorized use
of credit cards issued to or registered in

an “insured's" name;

(2) Loss resulting from theft or unauthorized
use of an electronic fund transfer card or
access device used for deposit, with-
drawal or transfer of funds, issued to or
registered in an “insuredc's" name;

HO-4 (10-06)

HO-4 (10-06)

(3} Loss to an “insured” caused by forgery or
alteration of any check or negotiable in-
strument; and

(4) Loss to an “insured” through acceptance
in goad faith of counterfeit United States
or Canadian paper currency.

No deductible applies to this coverage.
All loss resulting from a series of acts:

(1) Committed by any one person or group of
persons acting in concert; or

(2) In which any one person or group of per-
sons acting in concert is concerned or
implicated;

ls considered to be one loss.
We do not cover:

(1) Use of a credit card, electronic fund trans-
fer card or access device:

(a) By a resident of your household;

(b) By a person who has been entrusted
with either type of card or access de-
vice; or

(c) If an “insured" has not complied with
all terms and conditions under which
the cards are issued or the devices
accessed; or

(2) Loss arising out of “business” use or dis-
honesty of an “insured”.

If the coverage in a. applies, the following de-
fense provisions also apply:

(1) We may investigate and settle any claim
or suit that we decide is appropriate. Our
duty to defend a claim or suit ends when
the amount we pay for the loss equals our
limit of liability.

(2) If a suit is brought against an “insured” for
liability under a.(1) or (2) above, we will
provide a defense at our expense by
counsel of our choice.

{3) We have the option to defend at our ex-
pense an “insured” or an “insured's" bank
against any suit for the enforcement of
payment under a.(3) above.

8. Loss Assessment.

a.

We will pay up to $1,000 for your share of
loss assessment charged during the policy
period against you, as owner or tenant of the
"residence premises", by a corporation or as-
sociation of property owners. The assessment

Page 6 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 11 of 38 PagelD #: 18
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must be made as a result of direct loss to
property, owned by all members collectively,
of the type that would be covered by this pol-
icy if owned by you, caused by a Peril Insured
Against under Coverage C, other than:

{1) Earthquake; or

(2) Land shock waves or tremors before, dur-
ing or after a volcanic eruption.

The limit of $1,000 is the most we will pay
with respect to any one loss, regardless of the
number of assessments. We will apply only
one deductible, per unit, to the total amount
of any one loss to the property described
above, regardless of the number of assess-
ments.

. We do not cover assessments charged

against you or a corporation or association of
property owners by any governmental body.

Section | Condition 16. Policy Period does not
apply to this coverage.

9. Collapse.
a. With respect to this Additional Coverage:

(1) Collapse means an abrupt falling down or
caving in of a building or any part of a
building with the result that the building or
part of the building cannot be occupied
for its current intended purpose.

{2) A building or any part of a building that is
in danger of failing down or caving in is
not considered to be in a state of col-
lapse.

(3) A part of a building that is standing is not
considered to be in a state of collapse
even if it has separated from another part
of the building.

(4) A building or any part of a building that is
standing is not considered to be in a state
of collapse even if it shows evidence of
cracking, bulging, sagging, bending, lean-
ing, settling, shrinkage or expansion.

. We insure for direct physical loss to covered

property involving collapse of a building or
any part of a building if the collapse was
caused by one or more of the following:

(1) The Perils Insured Against;

(2) Decay that is hidden from view, unless
the presence of such decay is known to
an “insured” prior to collapse or there are
visible signs of water damage and the “in-
sured" has not taken prompt action to
prevent further damage;

HO-4 (10-06)

HO-4 (10-06)

(3) Insect or vermin damage that is hidden
from view, unless the presence of such
damage is known to an “insured" prior to
collapse;

(4) Weight of contents, equipment, animals
or people;

(5) Weight of rain which collects on a roof; or

(6) Use of defective material or methods in
construction, remodeling or renovation if
the collapse occurs during the course of
the construction, remodeling or renova-
tion.

Loss to an awning, fence, patio, deck, pave-
ment, swimming pool, underground pipe, flue,
drain, cesspool, septic tank, foundation, re-
taining wall, bulkhead, pier, wharf or dock is
not included under b.(2) through (6) above,
unless the loss is a direct result of the col-
lapse of a building or any part of a building.

This coverage does not increase the limit of
liability that applies to the damaged covered
property.

10. Glass Or Safety Glazing Material.

a.

b.

We cover:

(1) The breakage of glass or safety glazing
material which is part of a building, storm
door or storm window, and covered as
Building Additions And Alterations;

(2} The breakage of glass or safety glazing
material which is part of a building, storm
door or storm window and covered as
Building Additions And Alterations when
caused directly by earth movement; and

(3) The direct physical loss to covered prop-
erty caused solely by the pieces, frag-
ments or splinters of broken glass or
safety glazing material which is part of a
building, storm door or storm window.

This coverage does not include loss:

(1) To covered property which results be-
cause the glass or safety glazing material
has been broken, except as provided in
a.(3) above; or

(2) On the "residence premises" if the dwell-
ing has been vacant for more than 60
consecutive days immediately before the
loss, except when the breakage results di-
rectly from earth movement as provided
in a.(2) above. Vacant means substan-
tially empty of personal property neces-
sary to sustain normal occupancy. A

Page 7 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 12 of 38 PagelD #: 19
dwelling being constructed is not consid-
ered vacant.

c. This coverage does not increase the limit of
liability that applies to the damaged property.

11. Building Additions And Alterations. We cover

under Coverage C the building improvements or
installations, made or acquired at your expense,
to that part of the "residence premises" used ex-
clusively by you. The limit of liability for this cov-
erage will not be more than 10% of the limit of
liability that applies to Coverage C. However, if a
higher limit of liability is shown in the Declarations
for BUILDING ADDITIONS AND ALTERATIONS,
we will pay up to that higher limit for any one loss.

12. Ordinance or Law.

a. You may use up to the greater of 10%, or the
higher percentage, if any, shown in the Decla-
rations for ORDINANCE OR LAW, of the limit
of liability that applies to Building Additions
and Alterations for the increased costs you
incur due to the enforcement of any ordi-
nance or law which requires or regulates:

(1) The construction, demolition, remodeling,
renovation or repair of that part of a cov-
ered building or other structure damaged
by a Peril Insured Against;

(2) The demolition and reconstruction of the
undamaged part of a covered building or
other structure, when that building or
other structure must be totally demolished
because of damage by a Peril Insured
Against to another part of that covered
building or other structure; or

(3) The remodeling, removal or replacement
of the portion of the undamaged part of a
covered building or other structure neces-
sary to complete the remodeling, repair or
replacement of that part of the covered
building or other structure damaged by a
Peril Insured Against.

b. You may use all or part of this ordinance or
law coverage to pay for the increased costs
you incur to remove debris resulting from the
construction, demolition, remodeling, renova-
tion, repair or replacement of property as
Stated in a. above.

c. We do not cover:

(1) The loss in value to any covered building
or other structure due to the requirements
of any ordinance or law; or

(2) The costs to comply with any ordinance
or law which requires any “insured” or

HO-4 (10-06)

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HO-4 (10-06)

others to test for, monitor, clean up, re-
move, contain, treat, detoxify or neutral-
ize, or in any way respond to, or assess
the effects of, pollutants in or on any cov-
ered building or other structure.

Pollutants means any solid, liquid, gase-
ous or thermal irritant or contaminant, in-
cluding smoke, vapor, soot, fumes, acids,
alkalis, chemicals and waste. Waste in-
cludes materials to be recycled, recondi-
tioned or reclaimed.

Grave Markers.

We will pay up to $5,000 for grave markers, in-
cluding mausoleums, on or away from the “resi-
dence premises" for loss caused by a Peril
Insured Against.

This coverage does not increase the limits of li-
ability that apply to the damaged covered prop-
erty.

Refrigerated Products Coverage. We insure, up
to $500, covered property stored in freezers or re-
frigerators on the “residence premises” for direct
loss caused by:

a. Loss of power to the refrigeration unit. Loss of
power means the complete or partial interrup-
tion of electric power due to conditions be-
yond an "insured’s" control. Loss of power
must be caused by damage to:

(1) Generating equipment; or
(2) Transmitting equipment; or

b. Mechanical failure of the unit which stores the
property.

Coverage will apply only if you have maintained
the refrigeration unit in proper working condition
immediately prior to the loss.

This coverage does not increase the limit of liabil-
ity for Coverage C.

We will pay only that part of the total of all loss
payable that exceeds $100. No other deductible
applies to this coverage.

The Power Failure exclusion does not apply to
this coverage.

Inflation Coverage. We may adjust the limits of
liability for Coverages C and D at the beginning
of each successive policy term to reflect in-
creases in the cost of insured property. The
amount of such increase will be based on the data
provided by the appraisal company shown in the
Declarations. Payment of the required premium
when due for the successive policy term will be

Page 8 of 22

Case 3:18-cv-00365 Documenti1-1 Filed 04/13/18 Page 13 of 38 PagelID #: 20
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sufficient to indicate your acceptance of the ad-
justed limits.

We will also adjust the limits of liability at the time
of a loss by the same percentage pro rated from
the effective date of the policy period or the effec-
tive date of change if you have requested a
change to the limit of liability for Coverage C dur-
ing the policy period.

Limited “Fungi”,
Remediation.

Other Microbes Or Rot

a. If aloss caused by a Peril Insured Against re-
sults in “fungi”, other microbes or rot, we will
pay for:

(1) Remediation of the “fungi”, other mi-
crobes or rot. This includes payment for
the reasonable and necessary cost to:

(a) Remove the “fungi”, other microbes
or rot from covered property or to re-
pair, restore or replace that property;
and

{b) Tear out and replace any part of a
building covered as Building Addi-
tions and Alterations as needed to
gain access to the “fungi”, other mi-
crobes or rot;

(2) Any reasonable and necessary increase
in living expense you incur:

(a) So that your household can maintain
its normal standard of living; or

(b) Loss of fair rental value;

HO-4 (10-06)

if the “fungi”, other microbes or rot makes
the “residence premises” not fit to live in;
and

(3) Any reasonable and necessary testing or
monitoring of air or property to confirm
the absence, presence or level of the
“fungi”, other microbes or rot, whether
performed prior to, during or after re-
moval, repair, restoration or replacement.

b. We will pay under this additional coverage
only if:

(1) The covered loss occurs during the policy
period;

(2) All reasonable means were used to save
and preserve the property at the time of
and after the covered loss; and

{3) We receive prompt notice of the covered
cause of loss that is alleged to have re-
sulted in “fungi”, other microbes or rot.

c. The most we will pay under this additional
coverage is the limit of liability shown in the
Declarations for Limited “Fungi, Other Mi-
crobes Or Rot Remediation. This is the most
we will pay for the total of all loss or costs re-
gardless of the:

(1) Number of locations or items of property
insured under this policy; or

(2) Number of losses or claims made.

d. This coverage does not increase the limit of
liability that applies to the damaged property.

 

SECTION | - PERILS INSURED AGAINST

 

We insure for direct physical loss to the property de-
scribed in Coverage C caused by any of the following
perils, unless the loss is excluded in Section | - Exclu-
sions.

1.
2.

Fire or lightning.
Windstorm or hail.

This peril includes loss to watercraft of all types
and their trailers, furnishings, equipment, and out-
board engines or motors, only while inside a fully
enclosed building.

This peril does not include loss to property con-
tained in a building caused by rain, snow, sleet,
sand or dust unless the direct farce of wind or hail
damages the building, causing an opening in a
roof or wall and the rain, snow, sleet, sand or dust
enters through this opening.

HO-4 (10-06)

Explosion.
Riot or civil commotion.
Aircraft.

This peril includes self-propelled missiles and
spacecraft.

Vehicles.
Smoke.

This peril means sudden and accidental damage
from smoke, including the emission or puffback of
smoke, soot, fumes or vapors from a boiler, fur-
nace or related equipment.

This peril does not include loss caused by smoke
from agricultural smudging or industrial opera-
tions.

Page 9 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 14 of 38 PagelD #: 21
Vandalism or malicious mischief.

This peril does not include loss to property on the
"residence premises", and any ensuing loss
caused by any intentional and wrongful act com-
mitted in the course of the vandalism or malicious
mischief, if the dwelling has been vacant for more
than 60 consecutive days immediately before the
loss. Vacant means substantially empty of per-
sonal property necessary to sustain normal occu-
pancy. A dwelling being constructed is not
considered vacant.

Theft.

a. This peril includes attempted theft and loss of
property from a known place when it is likely
that the property has been stolen.

b. This peril does not include loss caused by
theft:

(1) Committed by an “insured”;

(2) In or to a dwelling under construction, or
of materials and supplies for use in the
construction until the dwelling is finished
and occupied;

{3) From that part of a “residence premises"
rented by an "insured" to someone other
than another "insured"; or

(4) That occurs off the "residence premises"
of:

(a) Trailers, semitrailers and campers;

(b) Watercraft of all types, and their fur-
nishings, equipment and outboard
engines or motors; or

(c) Property while at any other residence
owned by, rented to, or occupied by
an “insured”, except while an "“in-
sured" is temporarily living there.
Property of an “insured” who is a stu-
dent is covered while at the residence
the student occupies to attend school
as long as the student has been there
at any time during the 60 days imme-
diately before the loss.

10. Falling Objects.

This peril does not include loss to property con-
tained in a building unless the roof or an outside
wall of the building is first damaged by a falling
object. Damage to the falling object itself is not
included.

HO-4 (10-06)

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HO-4 (10-06)

Weight Of Ice, Snow Or Sleet.

This peril means weight of ice, snow or sleet
which causes damage to property contained in a
building.

Accidental Discharge Or Overflow Of Water Or
Steam.

a. This peril means accidental discharge or
overflow of water or steam from within a
plumbing, heating, air conditioning or auto-
matic fire protective sprinkler system or from
within a household appliance.

b. This peril does not include loss:

(1) To the system or appliance from which
the water or steam escaped;

(2) Caused by or resulting from freezing ex-
cept as provided in Peril Insured Against
14. Freezing;

(3) On the “residence premises" caused by
accidental discharge or overflow which
occurs away from the building where the
“residence premises" is located; or

(4) Caused by constant or repeated seepage
or leakage that occurs over a period of 14
days or more.

c. In this peril, a plumbing system or household
appliance does not include a sump, sump
pump or related equipment or a roof drain,
gutter, downspout or similar fixtures or equip-
ment.

d. Section | — Exclusion 3. Water Damage,
Paragraphs a. and c. that apply to surface
water and water below the surface of the
ground do not apply to loss by water covered
under this peril.

Sudden And Accidental Tearing Apart, Crack-
ing, Burning Or Bulging.

This peril means sudden and accidental tearing
apart, cracking, burning or bulging of a steam or
hot water heating system, an air conditioning or
automatic fire protective sprinkler system, or an
appliance for heating water.

This peril does not include loss caused by or re-
sulting from freezing except as provided in Peril
Insured Against 14. Freezing below.

Freezing.

a. This peril means freezing of a plumbing, heat-
ing, air conditioning or automatic fire protec-
tive sprinkler system or of a household
appliance but only if you have used reason-
able care to:

Page 10 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 15 of 38 PagelD #: 22
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{1) Maintain heat in the building; or

(2) Shut off the water supply and drain all
systems and appliances of water.

However, if the building is protected by an
automatic fire protective sprinkler system,
you must use reasonable care to continue the
water supply and maintain heat in the building
for coverage to apply.

b. In this peril, a plumbing system or household
appliance does not include a sump, sump
pump or related equipment or a roof drain,
gutter, downspout or similar fixtures or equip-
ment.

HO-4 (10-06)

15. Sudden And Accidental Damage From Artifi-

16.

cially Generated Electrical Current.

This peril does not include loss ta tubes, transis-
tors, electronic components or circuitry that are a
part of appliances, fixtures, computers, home en-
tertainment units or other types of electronic ap-
paratus.

Volcanic Eruption.

This peril does not include loss caused by earth-
quake, land shock waves or tremors.

 

SECTION | - EXCLUSIONS

 

We do not insure for loss caused directly or indirectly
by any of the following. Such loss is excluded regard-
less of any other cause or event contributing concur-
rently or in any sequence to the loss. These
exclusions apply whether or not the loss event results
in widespread damage or affects a substantial area.

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Ordinance or Law.
Ordinance or Law means any ordinance or law:

a. Requiring or regulating the construction,
demolition, remodeling, renovation or repair
of property, including removal of any resulting
debris. This exclusion, 1.a., does not apply to
the amount of coverage that may be provided
for under Additional Coverage 12. Ordinance
or Law;

b. The requirements of which result in a loss in
value to property.

c. Requiring any “insured” or others to test for,
monitor, clean up, remove, contain, treat, de-
toxify or neutralize, or in any way respond to,
or assess the effects of, pollutants.

Pollutants means any solid, liquid, gaseous or
thermal irritant or contaminant, including
smoke, vapor, soot, fumes, acids, alkalis,
chemicals and waste. Waste includes materi-
als to be recycled, reconditioned or re-
claimed.

This exclusion 1. applies whether or not the prop-
erty has been physically damaged.

Earth Movement.
Earth movement means:

a. Earthquake including land shock waves or
tremors before, during or after a volcanic
eruption;

HO-4 (10-06)

3.

b. Landslide; mudslide, or mudflow;
Subsidence or sinkhole; or

d. Any other earth movement including earth
sinking, rising or shifting;

caused by or resulting from human or animal
forces or any act of nature, unless direct loss by
fire or explosion ensues and then we will pay only
for the ensuing loss.

This Exclusion 2. does not apply to loss by theft.
Water Damage.
Water Damage means:

a. Flood, surface water, waves, tidal water,
overflow of a body of water, or spray from any
of these, whether or not driven by wind;

b. Water or water-borne material which backs up
through sewers or drains or which overflows
or is discharged from a sump, sump pump or
related equipment; or

c. Water or water-borne material below the sur-
face of the ground, including water which ex-
erts pressure on or seeps or leaks through a
building, sidewalk, driveway, foundation,
swimming pool or other structure;

caused by or resulting from human or animal
forces or any act of nature.

Direct loss by fire, explosion or theft resulting
from water damage is covered.

Power Failure.

Power Failure means the failure of power or other
utility service if the failure takes place off the
“residence premises”. But, if the failure results in
a loss from a Peril Insured Against, on the “resi-

Page 11 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 16 of 38 PagelD #: 23
dence premises", we will pay for the loss caused
by that peril.

Neglect.

Neglect means neglect of an “insured” to use all
reasonable means to save and preserve property
at and after the time of a loss.

HO-4 (10-06)

Intentional Loss means any loss arising out of any
act an “insured” commits or conspires to commit
with the intent to cause a loss.

In the event of such loss, no "insured" is entitled
to coverage, even "insureds" who did not commit
or conspire to commit the act causing the loss.

 

War 9. Governmental Action, meaning the destruction,
. confiscation or seizure of property described in
War includes the following and any consequence Coverage C by order of any governmental or pub-
of any of the following: lic authority.
a. Undeclared war, civil war, insurrection, rebel- This exclusion does not apply to such acts or-
lion or revolution; dered by any governmental or public authority
. as ae that are taken at the time of a fire to prevent its
b. Warlike act by a military force or military per- spread, if the loss caused by fire would be cov-
sonnel; or ered under this policy.
c. Destruction, seizure or use for a military pur- 10. “Fungi”, Other Microbes or Rot, meaning any
pose. loss or cost resulting from, arising out of, caused
Discharge of a nuclear weapon will be deemed a by, consisting of, or related to, “fungi”, other mi-
warlike act even if accidental. crobes or rot. This exclusion does not apply to:
Nuclear Hazard. a. “Fungi", other microbes or rot remediation
; . . coverage that may be afforded under Addi-
This Exclusion 7. pertains to Nuclear Hazard to tional Coverage 16. Limited “Fungi", Other
the extent set forth in the Nuclear Hazard Clause Microbes Or Rot Remediation; or
of Section | - Conditions.
. b. “Fungi”, other microbes or rot that results
Intentional Loss. from fire or lightning.
SECTION | - CONDITIONS

 

Insurable Interest and Limit of Liability. Even if
more than one person has an insurable interest in
the property covered, we will not be liable in any
one loss:

a. To an "insured" for more than the amount of
such “insured's" interest at the time of loss; or

b. For more than the applicable limit of liability.

Duties After Loss. In case of a loss to covered
property, we have no duty to provide coverage
under this policy if the failure to comply with the
following duties is prejudicial to us. These duties
must be performed either by you, an “insured”
seeking coverage, or a representative of either.

a. Give us prompt notice;
b. Notify the police in case of loss by theft;

c. Notify the credit card or electronic fund trans-
fer card or access device company in case of
loss as provided for in Additional Coverage 7.
Credit Card, Electronic Fund Transfer Card
Or Access Device, Forgery And Counterfeit
Money;

HO-4 (10-06)

d. Protect the property from further damage. If
repairs to the property are required, you must:

(1) Make reasonable and necessary repairs
to protect the property; and

(2) Keep an accurate record of repair ex-
penses;

e. Cooperate with us in the investigation of a
claim:

f. Prepare an inventory of damaged personal
property showing the quantity, description, ac-
tual cash value and amount of loss. Attach all
bills, receipts and related documents that jus-
tify the figures in the inventory;

g. As often as we reasonably require:
(1} Show the damaged property;

{2} Provide us with records and documents
we request and permit us to make copies;
and

Page 12 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 17 of 38 PagelD #: 24
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(3) Submit to examination under oath, while
not in the presence of another “insured”,
and sign the same;

h. Send to us, within 60 days after our request,
your signed, sworn proof of loss which sets
forth, to the best of your knowledge and be-
lief:

(1) The time and cause of loss;

(2) The interest of all “insureds” and all oth-
ers in the property involved and all liens
on the property;

(3) Other insurance which may cover the
loss;

(4) Changes in title or occupancy of the prop-
erty during the term of the policy;

(5) Specifications of damaged buildings and
detailed repair estimates;

(6) The inventory of damaged personal prop-
erty described in f. above;

(7) Receipts for additional living expenses
incurred and records that support the fair
rental value loss; and

(8) Evidence or affidavit that supports a
claim under Additional Coverage 7. Credit
Card, Electronic Fund Transfer Card Or
Access Device, Forgery And Counterfeit
Money, stating the amount and cause of
loss.

Loss Settlement.

Covered property losses are settled at actual cash
value at the time of loss but not more than the
amount required to repair or replace.

Loss Deductible. Unless otherwise stated in this
policy, the following deductible provision applies:

Subject to the policy limits that apply, we will pay
only that part of the total of all loss payable under
Section | that exceeds the deductible amount
shown in the Declarations.

Loss to a Pair or Set. In case of loss to a pair or
set we may elect to:

a. Repair or replace any part to restore the pair
or set to its value before the loss; or

b. Pay the difference between actual cash value
of the property before and after the loss.

Loss Payment. We will adjust all losses with you.
We will pay you unless some other person is
named in the policy or is legally entitled to receive
payment. Loss will be payable 60 days after we
receive your proof of loss and:

HO-4 (10-06)

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HO-4 (10-06)

a. Reach an agreement with you;
b. There is an entry of a final judgment; or
c. There is a filing of an appraisal award with us.

Appraisal. If you and we fail to agree on the
amount of loss, either may demand an appraisal
of the loss. In this event, each party will choose a
competent and impartial appraiser within 20 days
after receiving a written request from the other.
The two appraisers will choose an umpire. If they
cannot agree upon an umpire within 15 days, you
or we may request that the choice be made by a
judge of a court of record in the state where the
“residence premises" is located. The appraisers
will separately set the amount of loss. If the ap-
praisers submit a written report of an agreement
to us, the amount agreed upon will be the amount
of loss. If they fail to agree, they will submit their
differences to the umpire. A decision agreed to by
any two will set the amount of loss.

Each party will:
a. Pay its own appraiser; and

b. Bear the other expenses of the appraisal and
umpire equally.

Other Insurance and Service Agreement. If a
loss covered by this policy is also covered by:

a. Other insurance, we will pay only the propor-
tion of the loss that the limit of liability that
applies under this policy bears to the total
amount of insurance covering the loss; or

b. A service agreement, the coverage provided
under this policy is excess over any amounts
payable under any such agreement. Service
agreement means a service plan, property
restoration plan, home warranty or other simi-
lar service warranty agreement, even if it is
characterized as insurance.

Suit Against Us. No action can be brought
against us unless there has been full compliance
with all of the terms under Section | of this policy
and the action is started within two years after the
date of loss.

Our Option. If we give you written notice within
30 days after we receive your signed, swom proof
of loss, we may repair or replace any part of the
damaged property with material or property of like
kind and quality.

- Abandonment of Property. We need not accept

any property abandoned by an “insured”.

No Benefit to Bailee. We will not recognize any
assignment or grant any coverage that benefits a
person or organization holding, storing or moving

Page 13 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 18 of 38 PagelD #: 25
property for a fee regardless of any other provi-
sion of this policy.

13. Nuclear Hazard Clause.

a. “Nuclear Hazard" means any nuclear reac-
tion, radiation, or radioactive contamination,
all whether controlled or uncontrolled or how-
ever caused, or any consequence of any of
these.

b. Loss caused by the nuclear hazard will not be
considered loss caused by fire, explosion, or
smoke, whether these perils are specifically
named in or otherwise included within the
Perils Insured Against.

c. This policy does not apply under Section | to
loss caused directly or indirectly by nuclear
hazard, except that direct loss by fire resulting
from the nuclear hazard is covered.

14. Recovered Property. If you or we recover any
property for which we have made payment under
this policy, you or we will notify the other of the
recovery. At your option, the property will be re-
turned to or retained by you or it will become our
property. If the recovered property is returned to
or retained by you, the loss payment will be ad-
justed based on the amount you received for the
recovered property.

HO-4 (10-06)

15. Volcanic Eruption Period. One or more volcanic
eruptions that occur within a 72-hour period will
be considered as one volcanic eruption.

16. Policy Period. This policy applies only to loss
which occurs during the policy period.

17. Concealment or Fraud. We provide coverage to
no "insureds" under this policy if, whether before —
or after a loss, an “insured” has:

a. Intentionally concealed or misrepresented any
material fact or circumstance;

b. Engaged in fraudulent conduct; or
c. Made false statements;
relating to this insurance.

18. Premises Alarm or Fire Protection System.
(Applies only if PROTECTIVE DEVICES CREDIT
is shown in the Declarations.)

We acknowledge the installation of an alarm sys-
tem and/or an automatic sprinkler system ap-
proved by us on the “residence premises”. You
agree to maintain this system or systems in work-
ing order and to let us know promptly of any
change, including removal, made to the sys-
tem(s).

 

SECTION II - LIABILITY COVERAGES

 

COVERAGE E - PERSONAL LIABILITY

If a claim is made or a suit is brought against an “in-
sured" for damages because of “bodily injury" or
“property damage" caused by an "occurrence" to
which this coverage applies, we will:

1. Pay up to our limit of liability for the damages for
which an "insured" is legally liable. Damages in-
clude prejudgment interest awarded against an
“insured"; and

2. Provide a defense at our expense by counsel of
our choice, even if the suit is groundless, false or
fraudulent. We may investigate and settle any
claim or suit that we decide is appropriate. Our
duty to settle or defend ends when our limit of li-
ability for the “occurrence” is exhausted by the
payment of a judgment or settlement.

COVERAGE F - MEDICAL PAYMENTS TO OTH-
ERS

We will pay the necessary medical expenses that are
incurred or medically ascertained within three years

HO-4 (10-06)

from the date of an accident causing “bodily injury’.
Medical expenses means reasonable charges for
medical, surgical, x-ray, dental, ambulance, hospital,
professional nursing, prosthetic devices and funeral
services. This coverage does not apply to. you or
regular residents of your household except “residence
employees”. As to others, this coverage applies only:

1. To a person on the “insured location” with the
permission of an “insured”; or

2. Toa person off the "insured location", if the “bod-
ily injury’;
a. Arises out of a condition on the "insured loca-
tion" or the ways immediately adjoining;

b. Is caused by the activities of an "insured";

Is caused by a "residence employee" in the
course of the “residence employee's" em-
ployment by an “insured"; or

d. Is caused by an animal owned by or in the
care of an “insured”.

Page 14 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 19 of 38 PagelD #: 26
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HO-4 (10-06)

 

SECTION II - ADDITIONAL COVERAGES

 

We cover the following in addition to the limits of li-
ability:

1.

Claim Expenses. We pay:

a. Expenses we incur and costs taxed against
an “insured” in any suit we defend;

b. Premiums on bonds required in a suit we de-
fend, but not for bond amounts more than the
Coverage E limit of liability. We need not ap-
ply for or furnish any bond;

c. Reasonable expenses incurred by an “in-
sured” at our request, including actual loss of
earnings (but not loss of other income) up to
$250 per day, for assisting us in the investiga-
tion or defense of a claim or suit; and

d. Interest on the entire judgment which accrues
after entry of the judgment and before we pay
or tender, or deposit in court that part of the
judgment which does not exceed the limit of
liability that applies.

First Aid Expenses. We will pay expenses for
first aid to others incurred by an “insured” for
“bodily injury" covered under this policy. We will
not pay for first aid to an “insured”.

Damage to Property of Others. We will pay, at
replacement cost, up to $1,000 per "occurrence"
for “property damage” to property of others
caused by an “insured”.

We will not pay for “property damage”:

a. To the extent of any amount recoverable un-
der Section |;

b. Caused intentionally by an “insured” who is
13 years of age or older;

To property owned by an “insured”;

To property owned by or rented to a tenant of
an “Insured” or a resident in your household;
or

e. Arising out of:
(1) A “business” engaged in by an “insured”;

(2) Any act or omission in connection with a
premises owned, rented or controlled by
an “insured", other than the “insured loca-
tion"; or

{3) The ownership, maintenance, occupancy,
operation, use, loading or unloading of

HO-4 (10-06)

aircraft, hovercraft, watercraft or "motor
vehicles".

This exclusion e.(3) does not apply to a
“motor vehicle” that:

(a) !s designed for recreational use off
public roads;

(b) Is not owned by an “insured”; and

(c) At the time and place of an “occur-
rence", is not required by law, or
regulation issued by a government
agency, to have been registered for it
to be used at the place of the “occur-
rence".

4. Loss Assessment. We will pay up to $1,000 for

your share of loss assessment charged against
you, as owner or tenant of the “residence prem-
ises", during the policy period by a corporation or
association of property owners, when the as-
sessment is made as a result of:

a. "Bodily injury” or "property damage" not ex-
cluded under Section II of this policy; or

b. Liability for an act of a director, officer or trus-
tee in the capacity as a director, officer or
trustee, provided such person:

(1) Is elected by the members of a corpora-
tion or association of property owners;
and

(2) Serves without deriving any income from
the exercise of duties which are solely on
behalf of a corporation or association of
property owners.

Section [| Condition 9. Policy Period, does not
apply to this coverage.

Regardless of the number of assessments, the
limit of $1,000 is the most we will pay for loss
arising out of:

a. One accident, including continuous or re-
peated exposure to substantially the same
general harmful condition; or

b. A covered act of a director, officer or trustee.
An act involving more than one director, offi-
cer or trustee is considered to be a single act.

We do not cover assessments charged against
you or a corporation or association of property
owners by any governmental body.

Page 15 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 20 of 38 PagelD #: 27
HO-4 (10-06)

 

SECTION Ii - EXCLUSIONS

 

A. Coverage E - Personal Liability and Coverage

F - Medical Payments to Others.

Coverages E and F do not apply to "bodily injury" or
“property damage":

1.

Which is expected or intended by an “insured”
even if the resulting “bodily injury” or “property
damage":

a. Is of a different kind, quality or degree than
initially expected or intended; or

b. Is sustained by a different person, entity, real
or personal property, than initially expected or
intended.

However, this exclusion A.1. does not apply to
“bodily injury" resulting from the use of reason-
able force by an "insured" to protect persons or
property.

2. Arising out of or in connection with a "business"
conducted from an "insured location" or engaged
in by an “insured", whether or not the "business"
is owned or operated by an “insured” or employs
an “insured”. This exclusion A.2. applies to, but is
not limited to, an act or omission, regardless of its
nature or circumstance, involving a service or
duty rendered, promised, owed, or implied to be
provided because of the nature of the "business".
This exclusion A.2. does not apply to:

a. The rental or holding for rental of an “insured
location";

(1) On an occasional basis if used only as a
residence;

(2) In part for use only as a residence, unless
a single family unit is intended for use by
the occupying family to lodge more than
two roomers or boarders;

(3) In part, as an office, school, studio or pri-
vate garage; or

{4) Shown in the Declarations as an ADDI-
TIONAL RESIDENCE RENTED TO OTH-
ERS.

b. An "insured" under the age of 21 years in-
volved in a part-time or occasional, self-
employed “business" with no employees; or

c. One or more activities, for which no “insured"
receives more than $2,000 in total compensa-
tion for the consecutive 12 months before an
“occurrence”;

HO-4 (10-06)

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Arising out of the rendering of or failure to render
professional services;

Arising out of a premises:

a. Owned by an “insured”;

b. Rented to an “insured”; or

c. Rented to others by an “insured”;
that is not an “insured location";

Caused directly or indirectly by war, including the
following and any consequence of any of the fol-
lowing:

a. Undeclared war, civil war, insurrection, rebel-
lion or revolution;

b. Warlike act by a military force or military per-
sonnel; or

c. Destruction, seizure or use for a military pur-
pose.

Discharge of a nuclear weapon will be deemed a
warlike act even if accidental;

Arising out of the transmission of a communicable
disease by an “insured";

Arising out of sexual molestation, corporal pun-
ishment or physical or mental abuse;

Arising out of the use, sale, manufacture, deliv-
ery, transfer or possession by any person of a
Controlled Substance(s) as defined by the Fed-
eral Food and Drug Law at 21 U.S.C.A. Sections
811 and 812. Controlled Substances include but
are not limited to cocaine, LSD, marijuana and all
narcotic drugs. However, this exclusion does not
apply to the legitimate use of prescription drugs
by a person following the orders of a licensed
physician;

Arising out of, consisting of, caused by, contrib-
uted to, aggravated by or resulting from, whether
directly or indirectly, by “fungi", other microbes or
rot. This includes:

a. The cost of testing, monitoring, abating, miti-
gating, removing, remediating or disposing of
“fungi', other microbes or rot;

b. Any supervision, insiruction, disclosures, or
failures to disclose, recommendations, warn-
ings, or advice given, or that allegedly should
have been given, in connection with “bodily
injury” or “property damage” consisting of,
arising out of, caused by, contributed to, ag-
gravated by or resulting from, whether directly

Page 16 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 21 of 38 PagelD #: 28
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or indirectly, by “fungi”, other microbes or rot,
or the activities described in 9.a. above;

c. Any obligation to share with or repay another
who must pay damages because of “bodily in-
jury” or “property damage” damage of the
type described in this exclusion. This applies
regardless of any other cause that contributed
directly or indirectly, concurrently or in any
sequence to the “bodily injury” or “property
damage"; and

d. Liability imposed upon any “insured” by any
governmental authority for “bodily injury” or
“property damage” consisting of, arising out
of, caused by, contributed to, aggravated by
or resulting from, whether directly or indi-
rectly, by “fungi”, other microbes or rot; or

10. Arising out of, resulting from, caused by cr con-

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tributed to by the escape or release of fuel from a
“fuel system”. This exclusion applies, but is not
limited to:

a. Any supervision, instructions, recommenda-
tions, warnings or advice given in connection
with the above;

b. Any obligation to share damages, losses,
costs, payments or expenses with or repay
someone else who must make payment be-
cause of such “bodily injury” or “property
damage’, damages, loss, cost, payment or
expense; or

c. Any request, order or requirement to test for,
monitor, abate, mitigate, remediate, contain,
remove, dispose of, or in any way respond to
or assess the effects of fuel in any form.

However, this exclusion does not apply to “bodily
injury” or “property damage” arising out of fire or
explosion that results from such escaped or re-
leased fuel.

. Any loss, cost, payment or expense, including,

but not limited to, defense and investigation, of
any kind arising out of, resulting from, caused by
or contributed to by the actual or alleged pres-
ence or actual, alleged or threatened dispersal,
release, ingestion, inhalation or absorption of
lead, lead pigment, lead compounds or lead in
any form which is or was contained or incorpo-
rated into any material or substance. This exclu-
sion applies, but is not limited to:

a. Any supervision, instructions, recommenda-
tions, warnings or advice given in connection
with the above;

b. Any obligation to share damages, losses,
costs, payments or expenses with or repay
someone else who must make payment be-

HO-4 (10-06)

HO-4 (10-06)

cause of such “bodily injury” or “property
damage’, damages, loss, cost, payment or
expense; or

c. Any request, order or requirement to test for,
monitor, abate, mitigate, remediate, contain,
remove, dispose of, or in any way respond to
or assess the effects of lead, lead pigment,
lead compounds or materials or substances
containing lead in any form.

B. Coverage E- Personal Liability and Coverage

F- Medical Payments to Others.

Coverages E and F also do not apply to:

“Motor Vehicle Liability" unless, at the time of an
“occurrence”, the involved “motor vehicle" is:

a. In dead storage on an “insured location";
Used to service an “insured's" residence;

c. Designed to assist the handicapped and, at
the time of an “occurrence”, it is:

(1) Being used to assist a handicapped per-
son; or

(2) Parked on an “insured location";

d. Designed for recreational use off public roads
and:

{1) Not owned by an “insured’; or

{2} Owned by an “insured”, provided the “oc-
currence" takes place on an “insured lo-
cation" as defined in Definitions
paragraphs 8.a., b., d., e. or h.; or

e. A motorized golf cart that is owned by an "in-
sured", designed to carry up to 4 persons, not
built or modified after manufacture to exceed
a speed of 25 miles per hour on level ground
and, at the time of an “occurrence”, is within
the legal boundaries of:

(1) A golfing facility and is parked or stored
there, or being used by an "insured" to:

(a) Play the game of golf or for other rec-
reational or leisure activity allowed by
the facility;

(b) Travel to or from an area where "mo-
tor vehicles” or golf carts are parked
or stored; or

(c) Cross public roads at designated
points to access other parts of the
golfing facility; or

(2) A private residential community, including
its public roads upon which a motorized
golf cart can legally travel, which is sub-

Page 17 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 22 of 38 PagelID #: 29
ject to the authority of a property owners
association and contains an “insured's"
residence.

However this exception to the exclusion from cov-
erage does not apply if, at the time and place of
an “occurrence”, the involved "motor vehicle":

a. Is registered for use on public roads or prop-
erty;

b. Is not registered for use on public roads or
property, but such registration is required by a
law, or regulation issued by a government
agency, for it to be lawfully used at the place
of the "occurrence"; or

c. Is being:

(1) Operated in, or practicing for, any prear-
ranged or organized race, speed contest
or other competition;

(2) Rented to others;

(3) Used to carry persons or cargo for a
charge; or

(4) Used for any other “business” purpose
except for a motorized golf cart used for
incidental “business” entertainment while
on a golfing facility.

2. “Watercraft liability" unless, at the time of an “oc-
currence”, the involved watercraft:

a. ls stored;

b. Is a sailing vessel, with or without auxiliary
power that is:

(1) Less than 26 feet in overall length; or

(2) 26 feet or more in overall length and not
owned by or rented to an “insured”;

c. Is nota sailing vessel and is powered by:

{1) An inboard or inboard-outdrive engine or
motor, including those that power a water
jet pump, of:

(a) 50 horsepower or less and not owned
by an “insured”; or

(b) More than 50 horsepower and not
owned by or rented to an "insured"; or

(2) One or more outboard engines or motors
with:
(a) 25 total horsepower or less; or

(b) More than 25 horsepower if the out-
board engine or motor is not owned
by an “insured”;

HO-4 (10-06)

HO-4 (10-06)

(c) More than 25 horsepower if the out-
board engine or motor is owned by an
“insured" who acquired it during the
policy period, or:

(d) More than 25 horsepower if the out-
board engine or motor is owned by an
“insured” who acquired it before the
policy period, but only if:

(1} You declare them at policy incep-
tion; or

(2) Your intent to insure them is re-
ported to us in writing within 45
days after you acquire them.

The coverages in (c) and (d) above apply
for the policy period.

Horsepower means the maximum power rat-
ing assigned to the engine or motor by the
manufacturer.

However this exception to the exclusion from cov-
erage does not apply if, at the time and place of
an “occurrence”, the involved watercraft is being:

d.

Operated in, or practicing for, any prear-
ranged or organized race, speed contest or
other competition. This exclusion does not
apply to a sailing vessel or a predicted log
cruise;

Rented to others;

Used to carry persons or cargo for a charge;
or

Used for any other "business" purpose.

3. "Aircraft Liability’.
4. “Hovercraft Liability’.

Exclusions A.4., B.1., B.2., B.3. and B.4. do not apply
to "bodily injury” to a “residence employee" arising out
of and in the course of the "residence employee's"
employment by an "insured".

C. Coverage E - Personal Liability.

Coverage E does not apply to:
1. Liability:

a.

For any loss assessment charged against you
as a member of an association, corporation or
community of property owners, except as pro-
vided in Additional Coverage 4. Loss As-
sessment;

Under any contract or agreement entered into
by an “insured”. However, this exclusion does
not apply to written contracts:

Page 18 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 23 of 38 PagelD #: 30
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(1) That directly relate to the ownership,
maintenance or use of an “insured loca-
tion"; or

(2) In which the liability of others is assumed
by the “insured” prior to an "occurrence";

unless excluded in a. above or elsewhere in
this policy;

HO-4 (10-06)
This exclusion also applies to any claim made or
suit brought against you or an “insured”:
a. To repay; or
b. Share damages with;

another person who may be obligated to pay
damages because of “badily injury” to an “in-
sured"; or

 

 

2. “Property damage" to property owned by the “in- 7. "Bodily injury" to an “employee”, “residence em-
sured . This nudes costs or expenses incurred ployee” or a temporary employee furnished to the
y an ‘insured’ or others to repair, replace, en- “insured” to substitute for a permanent “residence
rare cemae cea such property Jo re, employee” arin out of o in the course of the
employee’s employmen an itional In-
mers: whether on or away from an "insured loca- sured yerned in the Declarahona.y
D, Coverage F - Medical Payments to Others.
3. “Property damage” to property rented to, occu- oo ,
pied or used by or in the care of the “insured.” | Coverage F does not apply to “bodily injury":
age" onused by fra, smokeror explosion: dam- 4. Toa “residence employee’ if the “bodily injury":
4. "Bodily injury" to any person eligible to receive a. Occurs off the insured location and
any benefits voluntarily provided or required to be b. Does not arise out of or in the course of the
provided by an "insured" under any: resides employee's" employment by an
“insured”;
a. Workers’ compensation law;
b. N tional disability law: 2. To any person eligible to receive benefits volun-
- Non-occupational disability 'aw, or tarily provided or required to be provided under
c. Occupational disease law; any:
5. “Bodily injury" or “property damage" for which an a. Workers' compensation law;
insured" under this policy: b. Non-occupational disability law; or
a. Is also an insured under a nuclear energy li- c. Occupational disease law;
ability policy issued by the:
ae 3. From any:
(1) Nuclear Energy Liability Insurance Asso- ;
ciation; a. Nuclear reaction;
(2) Mutual Atomic Energy Liability Underwrit- b. Nuclear radiation; or
ers, c. Radioactive contamination;
(3) Nuclear Insurance Association of Canada; all whether controlled or uncontrolled or however
or any of their successors; or caused; or
b. Would be an insured under that policy but for d. Any consequence of any of these; or
the exhaustion of its limit of liability; 4. To any person, other than a "residence employee"
6. “Bodily injury" to you or an "insured" as defined in of an insured", regularly residing on any part of
Definition 7.a. or b the “insured location".
SECTION II - CONDITIONS
1. Limit of Liability. Our total liability under Cover- exposure to substantially the same general harm-
age E for all damages resulting from any one "oc- ful conditions shall be considered to be the result
currence” will not be more than the Coverage E of one “occurrence”.
init or aouty o ragardloss wt pocarations. This Our total liability under Coverage F for all medical
sureds", claims made or persons injured. All "bod- expense payable for “bodily injury" to one person
ily injury" and “property damage" resulti ng from as the result of one accident will not be more than
any one accident or from continuous or repeated the Coverage F limit of liability shown in the Dec-
larations.
HO-4 (10-06) Page 19 of 22

Case 3:18-cv-00365 Document1-1 Filed 04/13/18 Page 24 of 38 PagelD #: 31
2. Severability of Insurance. This insurance ap-

plies separately to each “insured”. This condition
will not increase our limit of liability for any one
“occurrence”.

Duties After "Occurrence". In case of an “occur-
rence", you or another “insured” will perform the
following duties that apply. We have no duty to
provide coverage under this policy if your failure
to comply with the following duties is prejudicial to
us. You will help us by seeing that these duties
are performed:

a. Give us written notice as soon as is practical,
which sets forth:

{1) The identity of the policy and the named
“insured” shawn in the Declarations;

(2) Reasonably available information on the
time, place and circumstances of the "oc-
currence”; and

(3) Names and addresses of any claimants
and witnesses;

b. Cooperate with us in the investigation, set-
tlement or defense of any claim or suit;

c. Promptly forward to us every notice, demand,
summons or other process relating to the "oc-
currence";

d. At our request, help us:
(1) To make settlement;

(2) To enforce any right of contribution or in-
demnity against any person or organiza-
tion who may be liable to an “insured’;

(3) With the conduct of suits and attend hear-
ings and trials; and

(4) To secure and give evidence and obtain
the attendance of witnesses;

e. With respect to Additional Coverage 3. Dam-
age to Property of Others, submit to us within
60 days after the loss, a sworn statement of
loss and show the damaged property, if in an
“insured's" control;

f. No “insured” shall, except at such “insured's"
own cost, voluntarily make payment, assume
obligation or incur expense other than for first
aid to others at the time of the "bodily injury”.

HO-4 (10-06)

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HO-4 (10-06)

Duties of an Injured Person - Coverage F -
Medical Payments to Others.

a. The injured person or someone acting for the
injured person will:

(1} Give us written proof of claim, under oath
if required, as soon as is practical; and

{2) Authorize us to obtain copies of medical
reports and records.

b. The injured person will submit to a physical
exam by a doctor of our choice when and as
often as we reasonably require.

Payment of Claim - Coverage F - Medical Pay-
ments to Others. Payment under this coverage
is not an admission of liability by an “insured” or
us.

Suit Against Us. No action can be brought
against us unless there has been full compliance
with all of the terms under this Section II.

No one will have the right to join us as a party to
any action against an "insured". Also, no action
with respect to Coverage E can be brought
against us until the obligation of such “insured"
has been determined by final judgment or agree-
ment signed by us.

Bankruptcy of an Insured. Bankruptcy or insol-
vency of an "insured" will not relieve us of our ob-
ligations under this policy.

Other Insurance. This insurance is excess over
other valid and collectible insurance except insur-
ance written specifically to cover as excess over
the limits of liability that apply in this policy.
Policy Period. This policy applies only to "bodily
injury” or “property damage” which occurs during
the policy period.

Concealment or Fraud. We do not provide cov-
erage to an "insured" who, whether before or after
a loss, has:

a. Intentionally concealed or misrepresented any
material fact or circumstance;

b. Engaged in fraudulent conduct; or
c. Made false statements;
relating to this insurance.

Page 20 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 25 of 38 PagelD #: 32
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HO-4 (10-06)

 

SECTIONS | AND Ul - CONDITIONS

 

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Liberalization Clause. If we make a change
which broadens coverage under this edition of our
policy without additional premium charge, that
change will automatically apply to your insurance
as of the date we implement the change in your
state, provided that this implementation date falls
within 60 days prior to or during the policy period
stated in the Declarations.

This Liberalization Clause does not apply to
changes implemented with a general program re-
vision that includes both broadenings and restric-
tions of coverage, whether that general program
revision is implemented through introduction of:

a. A subsequent edition of this policy form; or
b. An amendatory endorsement

Waiver or Change of Policy Provisions. A
waiver or change of a provision of this policy
must be in writing by us to be valid. Our request
for an appraisal or examination will not waive any
of our rights.

The coverage provided and the premium charged
are based on information you have given us. You
agree to cooperate with us in determining if this
information is correct and complete and to inform
us of any change in title, use or occupancy of the
“residence premises”.

You agree that, if within 60 days of the policy ef-
fective date this information changes, is incorrect
or incomplete, we may adjust your coverage and
premium accordingly by giving you notice. This
notice may be delivered to you, or mailed to you
at your mailing address shown in the Declara-
tions. The notice will contain the changed, incor-
rect or incomplete information along with the
resulting premium change.

Cancellation.

a. You may cancel this policy at any time by re-
turning it to us or by letting us know in writing
of the date cancellation is to take effect.

b. We may cancel this policy only for the rea-
sons stated below by letting you know in writ-
ing of the date cancellation takes effect. This
cancellation notice may be delivered to you,
or mailed to you at your mailing address
shown in the Declarations. Proof of mailing
will be sufficient proof of notice.

(1) When you have not paid the premium, we
may cancel at any time by letting you
know at least 10 days before the date
cancellation takes effect.

HO-4 (10-06)

(2) When this policy has been in effect for
less than 60 days and is not a renewal
with us, we may cancel for any reason by
letting you know at least 10 days before
the date cancellation takes effect.

(3) When this policy has been in effect for 60
days or more, or at any time if it is a re-
newal with us, we may cancel:

(a) If there has been a material misrep-
resentation of fact which if known to
us would have caused us not to issue
the policy; or

(b) If the risk has changed substantially
since the policy was issued.

This can be done by letting you know at
least 30 days before the date cancellation
takes effect.

c. We will also mail a copy of any notice of can-
cellation to any Additional Insured named in
the Declarations.

d. When this policy is cancelled, the premium
for the period from the date of cancellation to
the expiration date will be refunded pro rata.

e. If the return premium is not refunded with the
notice of cancellation or when this policy is re-
turned to us, we will refund it within a reason-
able time after the date cancellation takes
effect.

4. Nonrenewal. We may elect not to renew this pol-

icy. We may do so by delivering to you, or mailing
to you at your mailing address shown in the Dec-
larations, written notice at least 30 days before
the expiration date of this policy. Proof of mailing
will be sufficient proof of notice. We will also mail
a copy of the notice to any Additional Insured
named in the Declarations.

If we offer to renew and you or your representa-
tive do not accept, this policy will automatically
terminate without notice of termination at the end
of the current policy period. Failure to pay the re-
quired renewal premium when due shall mean
that you have not accepted our offer.

Assignment. Assignment of this policy will not be
valid unless we give our written consent.

Subrogation. An “insured” may waive in writing
before a loss all rights of recovery against any
person. If not waived, we may require an assign-
ment of rights of recovery for a loss to the extent
that payment is made by us.

Page 21 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 26 of 38 PagelD #: 33
If an assignment is sought, an “insured” must sign
and deliver all related papers and cooperate with
us.

Subrogation does not apply under Section [I to
Medical Payments to Others or Damage to Prop-
erty of Others.

7. Death. If any person named in the Declarations or
the spouse, if a resident of the same household,
dies:

a. We insure the legal representative of the de-
ceased but only with respect to the premises

HO-4 (10-06)

HO-4 (10-06)

and property of the deceased covered under
the policy at the time of death;

“Insured” includes:

(1) An “insured” who is a member of your
household at the time of your death, but
only while a resident of the "residence
premises"; and

(2) With respect to your property, the person
having proper temporary custody of the
property until appointment and qualifica-
tion of a legal representative.

Page 22 of 22

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 27 of 38 PagelD #: 34
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HO-84 (12-08)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

ENHANCED HOME PACKAGE

FORM HO-4 ONLY

DEFINITIONS

Under 10. “Occurrence,” the following sentence is

added:

“Occurrence” also means an offense, including a
series of related offenses, committed during the
policy period that results in “personal injury’.

The following is added:

14. "Personal injury” means injury, other than “badily
injury”, caused by any of the following offenses
committed during the policy period:

a.
b.

c.

False arrest, detention or imprisonment;
Malicious prosecution;

The wrongful eviction from, wrongful entry
into, or invasion of the right of private occu-
pancy of a room, dwelling or premises that a
person occupies, committed by or on behalf
of its owner, landlord or lessor;

Oral, written or electronic publication of mate-
rial that slanders or libels a person or organi-
zation or disparages a _ person's” or
organization's goods, products or services; or

Oral, written or electronic publication of mate-
rial that violates a person's right of privacy.

SECTION | - PROPERTY COVERAGES
COVERAGE C - PERSONAL PROPERTY
Special Limits of Liability

1.

nN

Categories e., f., and g., are deleted and replaced
by the following:

e.

$1,500 for loss by theft, misplacing or losing
of jewelry, watches, furs, precious and semi-
precious stones.

$2,500 for loss by theft, misplacing or losing
of firearms and related equipment.

$2,500 for loss by theft, misplacing or losing
of silverware, silver-plated ware, goldware,
gold-plated ware, platinumware, platinum-
plated ware and pewterware. This includes
flatware, hollowware, tea sets, trays and tro-
phies made of or including silver, gold, plati-
num or pewter.

The special limits shown in the policy for each
category are increased as follows:

HO-84 (12-08)
Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 28 of 38 PagelD #: 35

a. $100 additional on money, bank notes, bul-

lion, gold other than goldware, silver other
than silverware, platinum other than plati-
numware, coins, medals, scrip, stored value
cards and smart cards.

$1,500 additional on securities, accounts,
deeds, evidence of debt, letters of credit,
notes other than bank notes, manuscripts,
personal records, passports, tickets and
stamps. This dollar limit applies to these cate-
gories regardless of the medium (such as pa-
per or computer software) on which the
material exists.

This limit includes the cost to research, re-
place or restore the information from the lost
or damaged material.

$1,500 additional on watercraft of all types,
including their trailers, furnishings, equipment
and outboard engines or motors.

$1,500 additional on trailers or semi-trailers
not used with watercraft of all types.

$1,500 for loss by theft, misplacing or losing
of jewelry, watches, furs, precious and semi-
precious stones.

$1,000 for loss by theft, misplacing or losing
of firearms and related equipment.

$1,500 for loss by theft, misplacing or losing
of silverware, silver-plated ware, goldware,
gold-plated ware, platinumware, platinum-
plated ware and pewterware. This includes
flatware, hollowware, tea sets, trays and tro-
phies made of or including silver, gold, plati-
num or pewter.

. $500 additional on property, on the “residence

premises", used primarily for “business” pur-
poses.

$250 additional on property, away from the
“residence premises", used primarily for
“business" purposes. However, this limit does
not apply to loss to electronic apparatus and
accessories described in category j. below.

$500 additional on electronic apparatus and
accessories, while in or upon a “motor vehi-
cle", but only if the apparatus is equipped to
be operated by power from the “motor vehi-
cle's" electrical system while still capable of
being operated by other power sources.

Page 1 of 6
k. $250 additional on tapes, records, discs or
other media that can be used with any elec-
tronic apparatus, while in or upon a "motor
vehicle".

SECTION | - ADDITIONAL COVERAGES
The following Additional Coverages are added:

Lock Replacement Coverage. We will pay you an
amount not to exceed $250 that you incur in changing
the locks on your “residence premises” when your
keys have been stolen. The theft of keys must be re-
ported to the police for this additional coverage to
apply.

No deductible applies to this additional coverage.

Reward Coverage. We will pay you an amount, not
to exceed $250, that you have incurred in the pay-
ment of rewards for information leading to the return
of stolen articles or the arrest and conviction of any
person(s) who have stolen articles and/or damaged
any of your covered property.

Water Back Up And Sump Discharge Or Overflow
A. Coverage

We insure, up to the limit of liability shown in the
Declarations for this coverage, for direct physical
loss, not caused by the negligence of an "in-
sured", to property covered under Section |
caused by water, or water-borne material, which:

1. Backs up through sewers or drains; or
2. Overflows or is discharged from a:

a. Sump, sump pump; or

b. Related equipment;

even if such overflow or discharge results
from mechanical breakdown. This coverage
does not apply to direct physical loss of the
sump pump, or related equipment, which is
caused by mechanical breakdown.

This coverage does not increase the limits of li-
ability for Coverages C or D stated in the Declara-
tions.

B. Section | - Perils Insured Against

With respect to the coverage described in A.
above, paragraph 3.j.(2) is deleted and replaced
by the following;

(2) Latent defect, inherent vice, or any quality in
property that causes it to damage or destroy
itself;

'C. Section | - Exclusions

3. Water Damage. Paragraph b. is deleted and
replaced by the following:

HO-84 (12-08)

HO-84 (12-08)

b. Water, or water-borne material, which:
(1) Backs up through sewers or drains; or

(2) Overflows or is discharged from; a
sump, sump pump or related equip-
ment;

as a direct or indirect result of flood; or

The following Additional Coverages are changed as
follows:

5. Fire Department Service Charge.

We agree to increase the limit of liability that ap-
plies to this additional coverage by the amount of
$250.

7. Credit Card, Fund Transfer Card, Forgery and
Counterfeit Money.

We agree to increase the limit of liability that ap-
plies to this additional coverage by the amount of
$1,500.

8. Loss Assessment.

We agree to increase the limit of liability that ap-
plies to this additional coverage by the amount of
$4,000.

SECTION | - PERILS INSURED AGAINST

The Perils Insured Against under Coverage C are de-
leted and replaced by the following:

We insure against risk of direct physical loss to prop-
erty described in Coverage C.

We do not insure, however, for loss:
1. Excluded under Section | - Exclusions;

2. Involving collapse or danger of collapse, except
as provided in Additional Coverage 9. Collapse
under Section | — Property Coverages; or

3. Caused by:

a. Freezing of a plumbing, heating, air condition-
ing or automatic fire protective sprinkler sys-
tem or of a household appliance, or by
discharge, leakage or overflow from within
the system or appliance caused by freezing.
This exclusion does not apply if you have
used reasonable care to:

(1} Maintain heat in the building; or

(2) Shut off the water supply and drain all
systems and appliances of water.

However, if the building is protected by an
automatic fire protective sprinkler system,
you must use reasonable care to continue the
water supply and maintain heat in the building
for coverage to apply.

Page 2 of 6

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 29 of 38 PagelD #: 36
iA

For purposes of this provision a plumbing sys-
tem or household appliance does not include
a sump, sump pump or related equipment or
a roof drain, gutter, downspout or similar fix-
tures or equipment:

Freezing, thawing, pressure or weight of wa-
ter or ice, whether driven by wind or not, to a:

(1) Fence, pavement, patio or swimming
pool:

(2) Footing, foundation, bulkhead, wall, or
any other structure or device that sup-
ports all or part of a building, or other
structure;

(3) Retaining wall or bulkhead that does not
support all or part of a building or other
structure; or

(4) Pier, wharf or dock;

Theft in or to a dwelling under construction, or
of materials and supplies for use in the con-
struction until the dwelling is finished and oc-
cupied;

Constant or repeated seepage or leakage of
water or steam, or the presence or condensa-
tion of humidity, moisture or vapor, that oc-
curs over a period of 14 days or more.

Breakage of:
(1} Eyeglasses, glassware, statuary, marble;

(2} Bric-a-brac, porcelains and similar fragile
articles other than jewelry, watches,
bronzes, cameras and _ photographic
lenses.

There is coverage for breakage of the prop-
erty by or resulting from:

(1) Fire, lightning;
(2) Windstorm, hail;

(3) Smoke, other than smoke from agricul-
tural smudging or industrial operations;

(4) Explosion, volcanic eruption;

(5) Riot, civil commotion;

(6) Aircraft, vehicles;

(7) Vandalism and malicious mischief;

(8) Collapse of a building or any part of a
building;

(9) Water not otherwise excluded;
{10)Theft or attempted theft; or

HO-84 (12-08)
Case 3:18-cv-00365 Document 1-1

HO-84 (12-08)

(11)Sudden and accidental tearing apart,
cracking, burning or bulging of:

(a) A steam or hot water heating system;

(b) An air conditioning or automatic fire
protective sprinkler system; or

(c) An appliance for heating water;

Dampness of atmosphere or extremes of
temperature unless the direct cause of loss is
rain, snow, sleet or hail;

Refinishing, renovating or repairing property
other than watches, jewelry and furs;

Collision, other than collision with a land ve-
hicle, sinking, swamping or stranding of wa-
tercraft, including their trailers, furnishings,
equipment and outboard motors; or

Error in computer programming or instruc-
tions to any computer.

Any of the following:
{1) Wear and tear, marring, deterioration;

(2) Mechanical breakdown, latent defect, in-
herent vice, or any quality in property that
causes it to damage or destroy itself;

(3) Smog, rust or other corrosion;

(4) Smoke from agricultural smudging or in-
dustrial operations;

(5) Discharge, dispersal, seepage, migration,
release or escape of pollutants unless the
discharge, dispersal, seepage, migration,
release or escape is itself caused by a
Peril Insured Against.

Pollutants means any solid, liquid, gase-
ous or thermal irritant or contaminant, in-
cluding smoke, vapor, soot, fumes, acids,
alkalis, chemicals and waste. Waste in-
cludes materials to be recycled, recondi-
tioned or reclaimed;

(6) Settling, shrinking, bulging or expansion,
including resultant cracking, of bulkheads,
pavements, patios, footings, foundations,
walls, floors, roofs or ceilings;

(7) Birds, vermin, rodents, or insects; or
(8) Animals owned or kept by an “insured.”
Exception To 3.j.

Unless the loss is otherwise excluded, we
cover loss to property covered under Cover-
age C resulting from an accidental discharge
or overflow of water or steam from within a
plumbing, heating, air conditioning or auto-

Page 3 of 6

Filed 04/13/18 Page 30 of 38 PagelD #: 37
matic fire protective sprinkler system or
household appliance on the “residence prem-
ises”.

We do not cover loss to the system or appli-
ance from which this water or steam escaped.

For purposes of this provision, a plumbing
system or household appliance does not in-
clude a sump, sump pump or related equip-
ment or a roof drain, gutter, down spout or
similar fixtures or equipment.

Under 3. a. through d., and j. above, any ensuing
loss to property described in Coverage C not ex-
cluded by any other provision in this policy is cov-
ered.

SECTION | - EXCLUSIONS

3. Water Damage. The following paragraphs are
added:

Water damage to property described in Coverage
C away from a premises or location owned,
rented, occupied or controlled by an “insured” is
covered.

Water damage to property described in Coverage
C on a premises or location owned, rented, occu-
pied or controlled by an "insured" is excluded
even if weather conditions contribute in any way
to produce the loss.

The following exclusions are added:

We do not insure for loss caused by any of the follow-
ing. However, any ensuing loss to property described
in Coverage C not excluded by any other provision in
this policy is covered.

a. Weather conditions. However, this exclusion ap-
plies only if weather conditions contribute in any
way with a cause or event excluded in Section | —
Exclusions 1. through 10. to produce the loss.

b. Acts or decisions, including the failure to act or
decide, of any person, group, organization or gov-
emmental body.

c. Faulty, inadequate or defective:
(1) Planning, zoning, development, surveying,
siting;
(2) Design, specifications, workmanship, repair,

construction, renovation, remodeling, grading,
compaction;

(3) Materials used in repair, construction, renova-
tion or remodeling; or

(4) Maintenance;

of part or all of any property whether on or off the
“residence premises”.

HO-84 (12-08)

HO-84 (12-08)

SECTION | - CONDITIONS

3.

3.

Loss Settlement is deleted and replaced by the
following:

Loss Settlement. In this Condition 3., the terms
“cost to repair or replace" and “replacement cost"
do not include the increased costs incurred to
comply with the enforcement of any ordinance or
law, except to the extent that coverage for these
increased costs is provided in Additional Cover-
age 12. Ordinance Or Law. Covered property
losses are settled as follows:

a. Property of the following type are settled at
replacement cost at the time of loss:

(1} Personal property; and
(2) If covered in this policy:

(a) Awnings, outdoor antennas and out-
door equipment; and

(b) Carpeting and household appliances;
whether or not attached to buildings;

Replacement cost loss settlement will also
apply to the following articles or classes of
property if they are separately described and
specifically insured in this policy and not sub-
ject to agreed value loss settlement:

(1) Jewelry;
(2) Furs and garments:
(a) Trimmed with fur; or
(b) Consisting principally of fur;

(3) Cameras, projection machines, films and
related articles of equipment;

(4) Musical equipment and related articles of
equipment;

(5) Silverware, silver-plated ware, goldware,
gold-plated ware and pewterware, but ex-
cluding:

(a} Pens or pencils;

(b) Flasks;

(c) Smoking implements; or
(d) Jewelry; and

(6) Golfer's equipment meaning golf clubs,
golf clothing and golf equipment.

Replacement cost loss settlement will not ap-
ply to other classes of property separately de-
scribed and specifically insured.

We will pay no more than the least of the fol-
lowing amounts:

Page 4 of 6

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 31 of 38 PagelD #: 38
i fn

{1) Replacement cost at the time of loss with-
out deduction for depreciation;

(2) The full cost of repair at the time of loss;

(3) The limit of liability that applies to Cover-
age C, if applicable;

(4) Any applicable special limits of liability
stated in this policy; or

(5) For loss to any item separately described
and specifically insured in this policy, the
limit of liability that applies to the item.

if the cost to repair or replace the property
described in a. above is more than $2,500,
we will pay no more than the actual cash
value for the loss until the actual repair or re-
placement is complete.

You may make a claim for loss on an actual
cash value basis and then make claim for any
additional liability in accordance with this en-
dorsement provided you notify us of your in-
tent to do so within 180 days after the date of
loss.

Property listed below is not eligible for re-
placement cost settlement. We will not pay
more than the actual cash value at the time of
loss or the amount required to repair or re-
place, whichever is less, for any of the follow-
ing:
(1) Antiques, fine arts, paintings and similar
articles of rarity or antiquity which cannot
be replaced.

(2) Memorabilia, souvenirs, collectors items
and similar articles whose age or history
contribute to their value.

(3) Articles not maintained in good or worka-
ble condition.

(4) Articles that are outdated or obsolete and
are stored or not being used.

b. Structures that are not buildings; and
Grave markers and mausoleums;

at actual cash value at the time of loss but not
more than the amount required to repair or
replace.

SECTION II — LIABILITY COVERAGES
COVERAGE E — PERSONAL LIABILITY

This section is deleted and replaced by the following:

If a claim is made or a suit is brought against any “in-
sured” for damages because of “bodily injury", “per-
sonal injury” or “property damage” caused by an
“accurrence” to which this coverage applies, we will:

HO-84 (12-08)

HO-84 (12-08)

Pay up to our limit of liability for the damages for
which the “insured” is legally liable. Damages in-
clude prejudgment interest awarded against the
"insured"; and

Provide a defense at our expense by counsel of
our choice, even if the suit is groundless, false or
fraudulent. We may investigate and settle any
claim or suit that we decide is appropriate. Our
duty to settle or defend ends when our limit of li-
ability is exhausted by the payment of a judgment
or settlement.

SECTION II - ADDITIONAL COVERAGES

Additional Coverages 3. and 4. are amended as fol-
lows:

3.

Damage To Property of Others.

We agree to pay at replacement cost and to in-
crease the limit of liability that applies to this addi-
tional coverage by $500 per “occurrence”.

Loss Assessment.

We agree to increase the limit of liability that ap-
plies to this Additional Coverage by the amount of
$4,000.

SECTION II - EXCLUSIONS

Exclusion B.2.¢.(2) is deleted and replaced by the
following:

(2) One or more outboard engines or motors
with:

(a) 50 total horsepower or less; or

(b) More than 50 horsepower if the outboard
engine or motor is not owned by an "in-
sured";

(c) More than 50 horsepower if the outboard
engine or motor is owned by an “insured”
who acquired it during the policy period,
or:

(d) More than 50 horsepower if the outboard
engine or motor is owned by an "insured"
who acquired it before the policy pericd,
but only if:

(1) You declare them at policy inception;
or

(2) Your intent to insure them is reported
to us in writing within 45 days after
you acquire them.

The coverages in (c) and (d) above apply for
the policy period.

Exclusion C.3. is deleted and replaced by the follow-

ing:
3.

“Property damage” to property rented to, occupied
or used by or in the care of the “insured”. This ex-

Page 5 of 6

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 32 of 38 PagelD #: 39
clusion does not apply to “property damage”
caused by fire, smoke, explosion, or water dam-
age;

Exclusion C.8. is added as follows:

“Personal Injury”:

a. Arising out of an act an “insured” commits or
conspires to commit with the knowledge that
the act would violate the rights of another and
would inflict “personal injury’;

b. Arising out of oral, written or electronic publi-
cation of material, if done by or at the direc-
tion of an “insured” with knowledge of its
falsity;

c. Arising out of oral, written or electronic publi-
cation of material whose first publication took
place before the beginning of the policy pe-
riod;

d. Arising out of a criminal act an “insured”
commits or conspires to commit;

e. Arising out of liability assumed by an “in-
sured" under any contract or agreement ex-
cept any indemnity obligation assumed by an
“insured” under a written contract directly re-
lating to the ownership, maintenance or use
of the premises;

f. Sustained by any person as a result of an of-
fense directly or indirectly related to the em-
ployment of this person by the "insured";

g. Arising out of or in connection with a “busi-
ness" conducted from an “insured location" or
engaged in by an “insured”, whether or not
the "business" is owned or operated by an “in-
sured" or employs an “insured”. This exclu-
sion applies but is not limited to an act or
omission, regardless of its nature or circum-
stance, involving a service or duty rendered,
promised, owed, or implied to be provided
because of the nature of the "business";

h. Arising out of civic or public activities per-
formed for pay by an “insured";

i. To you or an “insured” as defined under Defi-
nition 7.a. or b.

This exclusion also applies to any claim made
or suit brought against you or an “insured”:

(1) To repay; or
(2) Share damages with;

HO-84 (12-08)

HO-84 (12-08)

another person who may be obligated to pay
damages because of “personal injury" to an
"insured"; or

j. Arising out of the actual, alleged or threait-
ened discharge, dispersal, seepage, migra-
tion, release or escape of pollutants at any
time. This includes any loss, cost or expense
arising out of any:

{1) Request, demand or order that an “in-
sured" or others test for, monitor, clean
up, remove, contain, treat, detoxify or
neutralize, or in any way respond to, or
assess the effects of, pollutants; or

(2) Claim or suit by or on behalf of a gov-
emmental authority for damages because
of testing for, monitoring, clean up, re-
moving, containing, treating, detoxifying
or neutralizing, or in any way responding
to, or assessing the effects of pollutants.

Pollutants means any solid, liquid, gaseous or
thermal irritant or contaminant, including
smoke, vapor, soot, fumes, acids, alkalis,
chemicals and waste. Waste includes materi-
als to be recycled, reconditioned or re-
claimed.

SECTION II - CONDITIONS

1.

Limit of Liability is deleted and replaced by the
following:

Limit of Liability. Our total liability under Cover-
age E for all damages resulting from any one “oc-
currence” will not be more than the Coverage E
limit of liability shown in the Declarations plus
$100,000. This limit is the same regardless of the
number of "insureds", claims made or persons in-
jured. All "bodily injury” and “property damage"
resulting from any one accident or from continu-
ous or repeated exposure to substantially the
same general harmful conditions shall be consid-
ered to be the result of one "occurrence". All “per-
sonal injury” resulting from a series of related
offenses shall be considered to be the result of
one offense.

Our total liability under Coverage F for all medical
expense payable for “bodily injury” to one person
as the result of one accident will not be more than
the limit of liability for Coverage F as shown in
the Declarations plus $1,000.

All other provisions of this policy apply.

Page 6 of 6

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 33 of 38 PagelD #: 40
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HO-61-B (10-06)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

VALUABLE ITEMS PLUS

We provide the insurance described in this en-
dorsement for the classes of property shown in the

- Declarations only if such property is:

1. Owned or used by an “insured”; and

2. Normally kept at the “residence premises”; or is
temporarily away from the “residence premises”
anywhere in the world.

CLASSES OF PROPERTY

1. Jewelry means articles of personal adornment
composed at least partially of silver, gold, plati-
num or other precious metals or alloys, whether
or not containing pearls, jewels, or precious or
semi-precious stones.

We do not cover bullion, gold, silver and other
precious metals or unmounted gems.

2. Silverware means:

a. Silverware, silver-plated ware, goldware,
gold-plated ware, pewterware, platinumware
and platinum-plated ware.

b. Flatware, hollowware, tea sets, trays and
trophies made of or including silver, gold,
platinum or pewter.

We do not cover pens, pencils, flasks, smoking
implements or accessories, or jewelry.

3. Fine Arts means paintings, etchings, litho-
graphs, pictures, tapestries and other bona fide
works of art (such as valuable rugs, statuary,
marbles, bronzes, antique furniture and silver,
manuscripts and rare books, porcelains, rare
glass and bric-a-brac) of rarity, historical value
or artistic merit.

4, Furs means furs and garments trimmed with fur
or consisting principally of fur.
5. Computers means:
a. Game machines, computers, monitors,
printers and scanners;
b. Commercial software and data storage me-
dia including tapes, compact discs, DVD's
and hard discs; and
c. Equipment and accessories related to the
above.
6. Firearms means firearms, scopes and miscel-

laneous property such as ammunition, clips, tri-
pods, carrying cases, and holsters used in
connection with firearms.

HO-61-B (10-06)

7. Cameras means analog and digital motion and
still cameras, projection machines, carrying
cases, films, lenses, filters, light meters, tripods
and related photographic accessories and
equipment.

8. Musical Instruments means musical instru-
ments and miscellaneous property such as
sheet music, stands and carrying cases used in
connection with musical instruments.

9. China/Crystal means ceramic ware or porcelain
dinnerware, and crystal comprised of clear, col-
orless glass of superior quality.

PERILS INSURED AGAINST

We insure against risk of direct physical loss to cov-
ered property, subject to the following exclusions:

EXCLUSIONS
We do not cover:

1. Loss caused by wear and tear, deterioration, or
inherent vice.

2. War, including the following and any conse-
quence of any of the following:

a. Undeclared war, civil war, insurrection, re-
bellion, or revolution;

b. Warlike act by a military force or military
personnel; or

c. Destruction, seizure, or use for a military
purpose.

Discharge of a nuclear weapon shall be deemed
a warlike act even if accidental.

3. Loss to articles separately described and spe-
cifically insured, regardless of the limit for which
they are insured, in this or any other insurance.

4. As respects Fine Arts:

a. Loss resulting from any repairing, restora-
tion or retouching process.

b. Loss to property on exhibition at fair
grounds or on the premises of any national
or international exposition.

c. The first $100 of loss due to breakage of art
glass windows, statuary, marble, glassware,
bric-a-brac, porcelain and similar fragile ar-
ticles, unless caused by fire, lightning, air-
craft, theft and/or attempted theft, cyclone,
tornado, windstorm, earthquake, flood, ex-

Page 1 of 2

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 34 of 38 PagelD #: 41
plosion, malicious damage, or collision, de-
railment or overturn of conveyance.

d. Loss to cemetery property.

5. Loss to property used primarily for “business”
purposes.

6. Loss to Computers caused by error in pro-
gramming or instructions.

7. Loss caused by Nuclear Hazard to the extent set
forth in the Nuclear Hazard Clause of SECTION
| - CONDITIONS.

8. Intentional Loss, meaning any loss arising out of
any act an “insured” commits or conspires to
commit with the intent to cause a loss.

In the event of such loss, no “insured” is entitled
to coverage, even “insureds” who did not com-
mit or conspire to commit the act causing the
loss.

9. Neglect, meaning neglect of an “insured” to use
all reasonable means to save and preserve
property at and after the time of a loss.

SECTION | - EXCLUSIONS do nat apply to the cov-
erage provided in this endorsement.

SECTION | - CONDITIONS

Item 5. Loss to a Pair or Set does not apply to jew-
elry covered under this endorsement. Loss to a jew-
elry item that is part of a pair or set will be settled as
follows:

HO-61-B (10-06)

HO-61-B (40-06)

1. We agree to pay you the full amount of the ac-
tual cash value of the pair or set at the time of
the loss and you agree to surrender the remain-
ing article(s) of the pair or set to us.

2. If you elect not to surrender the remaining arti-
cle(s) of the pair or set, we will pay you the dif-
ference between the actual cash value of the
pair or set before and after the loss.

3. A pair or set of jewelry items is considered to be
a single item.

LIMIT OF LIABILITY

1. The most we will pay for loss to any class of
property is the limit of liability shown in the Dec-
larations for that class of property.

2. SPECIAL LIMITS OF LIABILITY. The most we
will pay for loss to any one item is $10,000.

This limit does not increase the total limit of li-
ability for any class.

DEDUCTIBLE

No deductible applies to the coverage provided in
this endorsement. However, a deductible, if any, will
be subtracted from any payments made under
COVERAGE C.

All other provisions of this policy apply.

Page 2 of 2

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 35 of 38 PagelD #: 42
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HO-300 TN (09-12)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
SPECIAL PROVISIONS — TENNESSEE

SECTION ! - EXCLUSIONS

The first paragraph of this section is deleted and re-
placed by the following:

We do not cover any direct or indirect loss or damage
caused by, resulting from, contributing to or aggra-
vated by any of these excluded perils. Loss from any
of these perils is excluded regardless of any other
cause or event contributing concurrently or in any se-
quence to the loss.

These exclusions apply whether or not the loss event:
(1) Results in widespread damage;
(2) Affects a substantial area; or
(3) Occurs gradually or suddenly.

These exclusions also apply whether or not the loss
event arises from:

(1) Any acts of nature;
(2) Any human action or inaction;

(3) The forces of animals, plants or other living or
dead organisms; or

(4) Any other natural or artificial process.

2. Earth Movement is deleted and replaced by the
following:

2. “Earth Movement", meaning events that include
but are not limited to the following:

a. Earthquake and earthquake aftershocks;
b. Volcano activity including but not limited to:
(1) Volcanic eruption;
(2) Volcanic explosion;
(3) Effusion of volcanic material; or
(4) Lava flow;

c. Mudslide, including mudflow, debris flow,
land-slide, avalanche, or sediment;

Sinkhole;
Subsidence;
Excavation collapse;
Erosion; or

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Any expansion, shifting, rising, sinking, con-
tracting, or settling of the earth, soil or land.

HO-300 TN (09-12)

This exclusion applies whether or not the earth,
soil or land is combined or mixed with water or
any other liquid or natural or man made material.

However, loss caused directly by the specific per-
ils:

a. Fire;

b. Explosion;

c. Breakage of building or dwelling glass or
safety glazing material, including storm doors
or windows; or;

d. Theft;
following any earth movement is covered.

Water Damage is deleted and replaced by the
following:

“Water Damage", meaning;

a. Flood, surface water, ground water, storm
surge, waves, wave wash, tidal water, tsu-
nami, seiche, overflow of a body of water, or
spray from any of these, whether or not a re-
sult of precipitation or driven by wind;

b. Any water or water borne maierial that enters
through or backs up from a sewer or drain, or
which overflows or discharges from a sump,
sump pump or related equipment;

c. Any water or water borne material located be-
low the surface of the ground including water
or water borne material:

(1} Which exerts pressure on, seeps, leaks
or flows into:

(a) Any part of the dwelling or other
structures;

(b) The foundation of the dwelling or
other structures;

{c) Any paved surface located on the
“residence premises"; or

(d) Any spa, hot tub, or swimming pool.
{2) Which causes earth movement; or

d. Any overflow, release, migration or discharge
of water in any manner from a dam, levee,
dike, hurricane barrier or any water or flood
control device.

Direct loss by fire, explosion or theft resulting
from water damage will be covered.

Page 1 of 2

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 36 of 38 PagelD #: 43
SECTION | —- CONDITIONS

2. Duties After Loss. Paragraph a. is deleted and
replaced by:

a. Give us prompt notice. With respect to a loss
caused by the peril of windstorm or hail, that
notice must occur no later than one year after
the date of loss:

12. Mortgage Clause. The following paragraph f. is
added:

f. The rights and obligations set forth in para-
graphs a. through e. above apply to any party
who has an insurable interest in the “resi-
dence premises" who is not an "insured".

This condition does not apply to Form HO-4.
SECTION il — ADDITIONAL COVERAGES
The following coverage is added:

5. Property Damage Coverage For Military Per-
sonnel and Federal Government Employees.

If an “insured” is:
a. A United States Government Employee; or
b. A member of the United States Military,

We agree to pay for "property damage" to United
States government property, for which such "in-

HO-300 TN (09-12)

HO-300 TN (09-12)
sured" is responsible under applicable rules or
regulations.

Payment for such "property damage" will be at
replacement cost. Under this endorsement "re-
placement cost" is defined as the amount neces-
sary to repair or replace the damaged property
with no deduction for depreciation, subject to the
Limit of Liability for this Additional Coverage.

Our Limit of Liability, per "occurrence", under this
Additional Coverage for all damages resulting
from any one “occurrence” shall not exceed two
months basic pay for the “insured”, as of the time
of the “occurrence”.

We will not pay for “property damage” to:
a. Aircraft;

b. "Motor vehicles’;

c. Watercraft; or

d. Weapons.

We will not pay for “property damage":

a. To the extent of any amount payable under
Section | of this policy; or

b. Caused intentionally by any “insured” who is
13 years of age or older.

All other provisions of this policy apply.

Page 2 of 2

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 37 of 38 PagelD #: 44
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This policy is signed for the company which is the insurer under this policy.

deady Ch — Mel Klos

Wendy C. Skjerven Michael Klein
Senior Vice President and President
Corporate Secretary Personal Insurance

IN WITNESS WHEREOF, the Company has executed and attested these presents.

PL-9107 8-97

Case 3:18-cv-00365 Document 1-1 Filed 04/13/18 Page 38 of 38 PagelD #: 45
